                                                                   Case 2:19-bk-24804-VZ             Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                            Desc
                                                                                                      Main Document    Page 1 of 60


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                                                                   7   [Proposed] Attorneys for Debtor and Debtor in Possession

                                                                   8
                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                  LOS ANGELES DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       In re:                                                       Case No.: 2:19-bk-24804-VZ
                                                                  12
                                                                       YUETING JIA,1
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                                 Chapter 11
                                           ATTORNEYS AT LAW




                                                                                                           Debtor.
                                                                  14                                                                 NOTICE OF FILING OF BLACKLINE
                                                                                                                                     VERSION OF DEBTOR’S FIRST
                                                                  15                                                                 AMENDED PLAN OF
                                                                                                                                     REORGANIZATION
                                                                  16                                                                 UNDER CHAPTER 11 OF THE
                                                                                                                                     BANKRUPTCY CODE
                                                                  17

                                                                  18
                                                                                                                                    Hearing
                                                                  19                                                                Date:          February 6, 2020
                                                                                                                                    Time:          11:00 a.m.
                                                                  20                                                                Place:         Courtroom 1368
                                                                                                                                                   Roybal Federal Building
                                                                  21                                                                               255 E. Temple Street
                                                                                                                                                   Los Angeles, California 90012
                                                                  22                                                                Judge:         Hon. Vincent P. Zurzolo

                                                                  23                                                                [Relates to Docket No. 260]

                                                                  24
                                                                                PLEASE TAKE NOTICE that Yueting Jia, debtor and debtor in possession herein, attaches
                                                                  25
                                                                       hereto as Exhibit “A” a blackline version of his First Amended Plan of Reorganization Under
                                                                  26

                                                                  27

                                                                  28   1
                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing
                                                                       address is 91 Marguerite Drive, Rancho Palos Verdes, CA 90275.

                                                                       DOCS_LA:327244.1 46353/002
                                                                   Case 2:19-bk-24804-VZ              Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                              Desc
                                                                                                       Main Document    Page 2 of 60


                                                                   1   Chapter 11 of the Bankruptcy Code [Docket No. 260] compared to Debtor’s Prepackaged Plan of

                                                                   2   Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 4].2

                                                                   3
                                                                       Dated:     January 27, 2020                            PACHULSKI STANG ZIEHL & JONES LLP
                                                                   4

                                                                   5                                                          By        /s/ Malhar S. Pagay
                                                                                                                                        Richard M. Pachulski
                                                                   6                                                                    Jeffrey W. Dulberg
                                                                                                                                        Malhar S. Pagay
                                                                   7
                                                                                                                                        Proposed Attorneys for Debtor and Debtor
                                                                   8                                                                    in Possession
                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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                                                                  28   2
                                                                        To facilitate the review of the blackline version, the format of the previously-filed plan, in the format required by the
                                                                       District of Delaware, was utilized to create the comparison.
Case 2:19-bk-24804-VZ   Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44   Desc
                         Main Document    Page 3 of 60




                               EXHIBIT A
Case 2:19-bk-24804-VZ     Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44            Desc
                           Main Document    Page 4 of 60


                                       EXHIBIT A

   Debtor’s First Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code
Case 2:19-bk-24804-VZ                  Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                     Desc
                                        Main Document    Page 5 of 60


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                                                                      Proposed Special Corporate, Litigation, and
                                                                      International Counsel for Debtor and
                                                                      Debtor in Possession

                              IN THE UNITED STATES BANKRUPTCY COURT

                     FOR THECENTRAL DISTRICT OF DELAWARECALIFORNIA

                                                                 x
-------------------------------------------------------------------
                                                                 :    Chapter 11
 In re:
                                                                 :
          YUETING JIA,                                                Case No. 19-[_________]
                                                                 :
                                        Debtor.                  :
                                                                 x
-------------------------------------------------------------------

                       DEBTOR’S PREPACKAGED PLAN OF REORGANIZATION
                         UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
                                    LOS ANGELES DIVISION
Case 2:19-bk-24804-VZ             Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                           Desc
                                   Main Document    Page 6 of 60


In re:                                                        Case No.: 2:19-bk-24804-VZ
                                                              (formerly 19-12220 KBO in the District of
YUETING JIA,1                                                 Delaware)

                                   Debtor.                    Chapter 11

                                                              DEBTOR’S FIRST AMENDED PLAN OF
                                                              REORGANIZATION
                                                              UNDER CHAPTER 11 OF THE
                                                              BANKRUPTCY CODE

                                                              Confirmation Hearing
                                                              Date:        TBD
                                                              Time:        TBD
                                                              Place:       Courtroom 1368
                                                                           Roybal Federal Building
                                                                           255 E. Temple Street
                                                                           Los Angeles, California 90012
                                                              Judge:       Hon. Vincent P. Zurzolo



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and Debtor in Possession                                      International Counsel for Debtor and
                                                              Debtor in Possession




1The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
Marguerite Drive, Rancho Palos Verdes, CA 90275.



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Case 2:19-bk-24804-VZ                      Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                                                        Desc
                                            Main Document    Page 7 of 60

                                                     TABLE OF CONTENTS
                                                                                                                                                 Page


ARTICLE I DEFINITIONS AND INTERPRETATION.............................................................................1

          1.1.      Definitions. .........................................................................................................................1

          1.2.      Interpretation, Application of Definitions, and Rules of Construction. ...........................19

ARTICLE II UNCLASSIFIED CLAIMS ..................................................................................................19

          2.1       Administrative Expense Claims. .......................................................................................19

          2.2       Professional Fees. ..........................................................................................................110

          2.3       Priority Tax Claims. .......................................................................................................110

          2.4       Domestic Support Obligations........................................................................................111

ARTICLE III CLASSIFICATION OF CLAIMS.....................................................................................111

          3.1       Class Identification.........................................................................................................111

ARTICLE IV TREATMENT OF CLAIMS.............................................................................................111

          4.1       Priority Non-Tax Claims (Class 1).................................................................................111

          4.2       U.S. Secured Claims (Class 2)........................................................................................112

          4.3       Debt Claims (Class 3).....................................................................................................112

ARTICLE V ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT OF REJECTION BY
             ONE OR MORE CLASSES OF CLAIMS 1.................................................................12

          5.1       Class Acceptance Requirement. .....................................................................................112

          5.2       Deemed Acceptance by Non-Voting Classes. .................................................................113

          5.3       Elimination of Vacant Classes........................................................................................113

          5.4       Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code..............................113

ARTICLE VI MEANS FOR IMPLEMENTATION OF THE PLAN .....................................................113

          6.1       Compromise of Controversies. .......................................................................................113

          6.2       The Trust.........................................................................................................................113

          6.3       Cancellation of Liens......................................................................................................118

ARTICLE VII PLAN DISTRIBUTIONS ................................................................................................119

          7.1       Plan Distributions...........................................................................................................119

          7.2       Allocation of Plan Distributions Between Principal and Interest..................................119

          7.3       No Postpetition Interest on Claims.................................................................................119


                                                                        -i-
Case 2:19-bk-24804-VZ                        Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                                                        Desc
                                              Main Document    Page 8 of 60

                                                         TABLE OF CONTENTS
                                                             (continued)
                                                                                                                                                    Page


           7.4        Date of Plan Distributions..............................................................................................119

           7.5        Distribution Record Date. ..............................................................................................119

           7.6        Delivery of Plan Distribution. ........................................................................................120

           7.7        Unclaimed Property. ......................................................................................................120

           7.8        Satisfaction of Claims.....................................................................................................120

           7.9        Manner of Payment Under Plan.....................................................................................120

           7.10       No Distribution in Excess of Amount of Allowed Claim. ...............................................120

           7.11       Setoffs and Recoupments. ...............................................................................................121

           7.12       Withholding and Reporting Requirements. ....................................................................121

           7.13       Claims Paid by Third Parties. ........................................................................................122

ARTICLE VIII PROCEDURES FOR RESOLVING DISPUTED CLAIMS..........................................122

           8.1        Objections to Claims; Estimation of Claims. .................................................................122

           8.2        Payments and Distributions on Disputed Claims...........................................................123

           8.3        Preservation of Claims and Rights to Settle Claims.......................................................123

           8.4        Expenses Incurred On or After the Effective Date. ........................................................124

ARTICLE IX EXECUTORY CONTRACTS AND UNEXPIRED LEASES .........................................124

           9.1        Assumption of Contracts and Leases..............................................................................124

           9.2        Claims Based on Rejection of Executory Contracts or Unexpired Leases.....................124

           9.3        Cure of Defaults for Assumed Executory Contracts and Unexpired Leases..................125

           9.4        Insurance Policies. .........................................................................................................125

           9.5        Reservation of Rights......................................................................................................125

           9.6        Pre-existing Obligations to Debtor Under Executory Contracts and Unexpired
                      Leases .............................................................................................................................126

           9.7        Contracts and Leases Entered into After the Petition Date. ..........................................126

ARTICLE X CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE
             DATE ...........................................................................................................................126

           10.1       Conditions Precedent to Confirmation...........................................................................126

           10.2       Conditions Precedent to the Effective Date....................................................................126


                                                                          - ii -
Case 2:19-bk-24804-VZ                     Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                                                       Desc
                                           Main Document    Page 9 of 60

                                                      TABLE OF CONTENTS
                                                          (continued)
                                                                                                                                                Page


         10.3      Waiver of Conditions Precedent.....................................................................................127

         10.4      Effect of Non-Occurrence of the Effective Date .............................................................127

ARTICLE XI EFFECT OF CONFIRMATION .......................................................................................127

         11.1      Vesting of Assets. ............................................................................................................127

         11.2      Binding Effect. ................................................................................................................127

         11.3      Discharge of Claims. ......................................................................................................128

         11.4      Releases. .........................................................................................................................128

         11.5      Exculpation and Limitation of Liability..........................................................................133

         11.6      Injunction........................................................................................................................134

         11.7      Term of Bankruptcy Injunction or Stays.........................................................................135

         11.8      Termination of Subordination Rights and Settlement of Related Claims.......................135

         11.9      Waiver of Actions Arising Under Chapter 5 of the Bankruptcy Code............................135

         11.10     Reservation of Rights......................................................................................................135

ARTICLE XII RETENTION OF JURISDICTION .................................................................................136

ARTICLE XIII MISCELLANEOUS PROVISIONS...............................................................................138

         13.1      Payment of Statutory Fees..............................................................................................138

         13.2      Exemption from Securities Laws. ...................................................................................138

         13.3      Exemption from Certain Transfer Taxes. .......................................................................138

         13.4      Dissolution of Statutory Committees and Cessation of Fee and Expense Payment.......138

         13.5      Substantial Consummation. ............................................................................................139

         13.6      Expedited Determination of Postpetition Taxes. ............................................................139

         13.7      Modification and Amendments. ......................................................................................139

         13.8      Additional Documents. ...................................................................................................139

         13.9      Effectuating Documents and Further Transactions. ......................................................139

         13.10     Plan Supplement. ............................................................................................................139

         13.11     Entire Agreement............................................................................................................140

         13.12     Revocation or Withdrawal of the Plan. ..........................................................................140


                                                                      - iii -
Case 2:19-bk-24804-VZ                Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                                                       Desc
                                      Main Document    Page 10 of 60

                                                 TABLE OF CONTENTS
                                                     (continued)
                                                                                                                                           Page


      13.13   Severability. ....................................................................................................................140

      13.14   Solicitation......................................................................................................................140

      13.15   Governing Law. ..............................................................................................................141

      13.16   Compliance with Tax Requirements. ..............................................................................141

      13.17   Successors and Assigns. .................................................................................................141

      13.18   Closing of Chapter 11 Case............................................................................................141

      13.19   Document Retention. ......................................................................................................141

      13.20   Conflicts..........................................................................................................................141

      13.21   Service of Documents. ....................................................................................................142

      13.22   Deemed Acts. ..................................................................................................................142

      13.23   Waiver or Estoppel. ........................................................................................................142




                                                                 - iv -
Case 2:19-bk-24804-VZ              Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                  Desc
                                    Main Document    Page 11 of 60


                                              INTRODUCTION

                Yueting Jia as a debtor and debtor in possession (the “Debtor” or “YT”) proposes, and is
the proponent of, this chapter 11 plan of reorganization. The Plan12 provides for the reorganization of the
Debtor under chapter 11 of the Bankruptcy Code. As set forth below and described in the Disclosure
Statement, under the Plan:

                      Holdersholders of Allowed Administrative Expense Claims, Priority Tax Claims,
                       Priority Non-Tax Claims, and U.S. Secured Claims are paid in full;
                      Holdersholders of Allowed Debt Claims and Allowed Late Filed Debt Claims receive
                       their Pro Rata distribution of the Trust Interests;
                      except as set forth in the Plan, the Debtor and the Reorganized Debtor will
                       irrevocably and unconditionally release, waive, and discharge any Claims or Causes
                       of Action that they have, had, or may have that are based on sections 544, 547, 548,
                       549, and/or 550 of the Bankruptcy Code and analogous non-bankruptcy law for all
                       purposes; and
                      the Debtor and certain Persons and Entities (the Releasing Parties) release certain
                       Persons and Entities (the Released Parties).

                Holders of Claims should refer to the Disclosure Statement for a discussion of the
Debtor’s history, business interests, assets, financial information, as well as a summary and
description of the Plan. Before voting to accept or reject the Plan, holders of Claims entitled to vote
on the Plan are encouraged to read carefully the Plan, the Disclosure Statement, and their
respective exhibits and schedules in their entirety. These are the only materials approved for use in
soliciting acceptances or rejections of the Plan.

                                             ARTICLE I
                                  DEFINITIONS AND INTERPRETATION

           1.1.    Definitions.

               As used in thisthe Plan, capitalized terms have the meanings set forth in this Article I
(such meanings applicable to the singular and plural):

           1. 2019 Equity Incentive Plan has the meaning set forth in Article 6.2(j) of the Plan.

           2. Additional Trust Expenses has the meaning set forth in Article 6.2(g) of the Plan.

         1.      3. Administrative Expense Claim means a Claim for a cost or expense of administration
of the Estate under sections 503(b) (including Claims arising under section 503(b)(9)), 507(a)(2), or
507(b) of the Bankruptcy Code, including (a) any actual and necessary cost and expense of preserving the
Estate incurred after the Petition Date and through the Effective Date; (b) any indebtedness or obligations
incurred or assumed by the Debtor after the Petition Date and through the Effective Date; (c) any Allowed
compensation for professional services rendered, and Allowed reimbursement of expenses incurred, by a
Professional retained by order of the Bankruptcy Court or otherwise Allowed pursuant to section 503(b)
of the Bankruptcy Code; and (d) all fees due and payable pursuant to section 1930 of title 28 of the U.S.
Code.

        2.       4. Administrative Expense Claim Bar Date means the first Business Day that is thirty
(30) days after the Effective Date.

12   Capitalized terms are as defined in Article 1 below.
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                Main Document    Page 12 of 60


        3.       5. Allowed means, with respect to any Claim, such Claim or portion thereof against or in
the Debtor: (a) that has been listed by the Debtor in the Schedules as liquidated in amount and not
disputed or contingent and for which no contrary proof of claim has been filed; (b) as to which the
deadline for objecting or seeking estimation has passed, and no objection or request for estimation has
been filed; (c) as to which any objection or request for estimation that has been filed has been settled,
waived, withdrawn, or denied by a Final Order; or (d) that is allowed pursuant to the terms of (i) a Final
Order, (ii) an agreement by and among the holder of such Claim and the Debtor or the Reorganized
Debtor, as applicable, or (iii) the Plan.

         4.      6. Allowed Debt Claim Allocation Amount means the Allowed amount of a Debt Claim
excluding the amount oftogether with any unpaid interest, penalty interest, expenses, and any other fees
related thereto at the rate of four percent (4%) per annum from the time the underlying debt arose through
the Petition Date.

         5.      7. Allowed Debt Claim Distribution Amount means the amount of an Allowed Debt
Claim Allocation Amount minus the sum of (a) the amountany Other Distributions received by the holder
of such Allowed Debt Claim will receive from the primary obligor of such Claim plus (b) the amount
such holder will receive upon the disposition of any assets in any jurisdiction that (i) have already been
collateralized by the Debtor or any other Person or Entity, (ii) have already been pledged by the Debtor or
any other Person or Entity, and (iii) the Debtor, his wife Wei Gan, or any other Person or Entity own that
have been seized, attached, or frozen by Chinese judiciary authorities plus (c) if the primary debt
obligation is satisfied by conversion to equity in any jurisdiction, the corresponding reduction in the
amount of the holder’s Allowed Debt Claim on account of such conversion. .

        6.      8. Ballot means the form distributed to each holder of an Impaired Claim that is entitled
to vote to accept or reject the Plan, on which such holder shall indicate acceptance or rejection of the
Plan.

        7.      9. Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

        8.      10. Bankruptcy Court means the United States Bankruptcy Court for the Central District
of DelawareCalifornia (Los Angles Division), or such other court having jurisdiction over the Chapter 11
Case or any proceeding within, or appeal of an order entered in, the Chapter 11 Case.

       9.     11. Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, the Official
Bankruptcy Forms, or the local rules of the Bankruptcy Court.

       12. Bar Date means the deadline to be set by the Bankruptcy Court to file proofs of claim against
the Debtor in the Chapter 11 Case.

         10.    13. Business Day means any day, other than a Saturday, Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

        11.     Call Option means that certain call option exercisable by the Debtor under that certain
Restructuring Agreement dated as of December 31, 2018, by and among Smart King, the Debtor, Season
Smart Limited, and the other parties thereto.

        12.     14. Cash means legal tender of the United States of America and equivalents thereof.

         13.      15. Causes of Action means any action, claim, cause of action, controversy, demand,
right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense,
offset, power, privilege, license, and franchise of any kind or character whatsoever, whether known or



                                                    2
Case 2:19-bk-24804-VZ            Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                        Desc
                                  Main Document    Page 13 of 60


unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or pursuant to any
other theory of law. For the avoidance of doubt, “Cause of Action” includes: (a) any right of setoff,
counterclaim, or recoupment and any claim for breach of contract or for breach of duties imposed by law
or in equity; (b) the right to object to Claims; (c) any Claimclaim pursuant to section 362 or chapter 5 of
the Bankruptcy Code; (d) any equitable remedy, including, without limitation, any claim for equitable
subordination, equitable disallowance, or unjust enrichment; (e) any claim or defense including fraud,
mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and
(f) any cause of action or claim arising under any state or foreign fraudulent transfer law.

      14.     16. Chapter 11 Case means the case under chapter 11 of the Bankruptcy Code
commenced by the Debtor in the Bankruptcy Court.

        15.      China Debtor List has the meaning set forth in Article 11.4(c) of the Plan.

        16.      China Debtor List Covenant has the meaning set forth in Article 11.4(c) of the Plan.

        17.      China Restrictions has the meaning set forth in Article 11.4(c) of the Plan.

        18.      Chinese Court has the meaning set forth in Article 11.4(c) of the Plan.

       19.       17. Claim means a claim, as defined in section 101(5) of the Bankruptcy Code, against
the Debtor.

        20.     18. Class means a category of Claims established under Article III of the Plan pursuant to
sections 1122 and 1123(a)(1) of the Bankruptcy Code.

       21.     Committee means the official committee of unsecured creditors appointed in the Chapter
11 Case pursuant to section 1102 of the Bankruptcy Code.

       22.     19. Confirmation Date means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Case.

        23.     20. Confirmation Hearing means the hearing to be held by the Bankruptcy Court to
consider confirmation of the Plan under section 1129 of the Bankruptcy Code, as such hearing may be
continued from time to time.

       24.       21. Confirmation Order means the order of the Bankruptcy Court confirming the Plan
pursuant to section 1129 of the Bankruptcy Code, and granting other related relief.

        22. Creditor Extension Term has the meaning set forth in Article 6.2(f) of the Plan.

        25.     23. Creditor Trust has the meaning set forth in Article 6.2 of the Planmeans the 2020
Creditor Liquidating Trust for the benefit of holders of Allowed Debt Claims.

        26.      24. Creditor Trust Committee has the meaning set forth in Article 6.2(ef) of the Plan.

        27.      25. Cure Amount has the meaning set forth in Article 9.3(a) of thisthe Plan.

        28.      26. Cure Dispute has the meaning set forth in Article 9.3(c) of thisthe Plan.

        29.      27. Cure Schedule has the meaning set forth in Article 9.3(b) of thisthe Plan.


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Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 14 of 60


       30.      28. Debt Claim means any Claim against the Debtor that is (a) not an Administrative
Expense Claim, Priority Tax Claim, Priority Non-Tax Claim, or U.S. Secured Claim or (b) otherwise
determined by the Bankruptcy Court to be a Debt Claim.

        31.     29. Debtor has the meaning set forth in the Introduction.

         32.     30. Disallowed means, with respect to any Claim, a Claim or any portion thereof that is
not Allowed and (a) has been disallowed by a Final Order, (b) is listed in the Schedules as zero or as
contingent, disputed, or unliquidated and as to which no proof of claim or request for payment of an
Administrative Expense Claim has been timely filed or deemed timely filed with the Bankruptcy Court,
(c) is not listed in the Schedules and as to which no proof of claim or request for payment of an
Administrative Expense Claim has been timely filed or deemed timely filed with the Bankruptcy Court,
(d) has been withdrawn by agreement of the Debtor and the holder thereof, or (e) has been withdrawn by
the holder thereof.

        33.      31. Discharge Date means the date upon which the Court grants the Debtor a discharge
upon the earlier of: (ia) distribution of the Trust Interests to the holders of Allowed Debt Claims and (iib)
all Allowed Claims shall have been paid under the Plan.

         34.     32. Disclosure Statement means that written disclosure statement, dated October
10January 27, 20192020, relating to the Plan, including, without limitation, all exhibits and schedules
thereto, as the same may be amended, modified, or supplemented from time to time, as approved by the
Bankruptcy Court pursuant to sections 1125 and 1126(b) of the Bankruptcy Code.

        35.     33. Disputed Claim means a Claim that is not yet Allowed.

        36.     Distributable Proceeds has the meaning set forth in Article 6.2(i) of the Plan.

        37.     Distribution Event has the meaning set forth in Article 6.2(i) of the Plan.

        38.     34. Distribution Record Date means the record date for purposes of making distributions
under the Plan on account of Allowed Claims, which date shall be the date of the commencement of the
Confirmation Hearing.

         39.    35. Distribution Waterfall means the distribution waterfall set forth in Article 6.2(ij) of
thisthe Plan.

         40.   36. Domestic Support Obligations means a domestic support obligation, as defined in
section 101(14A) of the Bankruptcy Code, as such obligations may be modified from time to time by a
court of competent jurisdiction.

         41.    37. Effective Date means, with respect to the Plan, the Business Day selected by the
Debtor on which (a) no stay of the Confirmation Order is in effect, (b) the conditions to the effectiveness
of the Plan specified in Article 10.2 have been satisfied or waived (in accordance with Article 10.3), and
(c) the Debtor declares the Plan effective.

        42.     38. Entity has the meaning set forth in section 101(15) of the Bankruptcy Code.

       43.    39. Estate means the estate of the Debtor created pursuant to section 541 of the
Bankruptcy Code upon the commencement of the Chapter 11 Case.

        44.     FF means Faraday & Future Inc., a Delaware corporation.



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Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 15 of 60


           45.   FF Global means FF Global Partners LLC, a Delaware limited liability company.

           46.   FF Peak means FF Peak Holding Limited, a company organized in the British Virgin
Islands.

           47.   FF Top means FF Top Holding Ltd., a company organized in the British Virgin Islands.

         48.      40. Final Order means an order or judgment entered by the Bankruptcy Court or other
court of competent jurisdiction: (a) that has not been reversed, stayed, modified, amended, or revoked,
and as to which (i) any right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or
rehearing has been waived or (ii) the time to appeal or seek leave to appeal, certiorari, review,
reargument, stay, or rehearing has expired and no appeal, motion for leave to appeal, or petition for
certiorari, review, reargument, stay, or rehearing is pending or (b) as to which an appeal has been taken, a
motion for leave to appeal, or petition for certiorari, review, reargument, stay, or rehearing has been filed
and (i) such appeal, motion for leave to appeal or petition for certiorari, review, reargument, stay, or
rehearing has been resolved by the highest court to which the order or judgment was appealed or from
which leave to appeal, certiorari, review, reargument, stay, or rehearing was sought and (ii) the time to
appeal (in the event leave is granted), appeal further or seek leave to appeal, certiorari, further review,
reargument, stay, or rehearing has expired and no such appeal, motion for leave to appeal, or petition for
certiorari, further review, reargument, stay, or rehearing is pending; provided, however, that no order or
judgment shall fail to be a “Final Order” solely because of the possibility that a motion pursuant to
sections 502(j) or 1144 of the Bankruptcy Code, rules 59 or 60 of the Federal Rules of Civil Procedure, or
Bankruptcy Rules 9023 or 9024 may be filed with respect to such order or judgment.

        49.      41. Funding SourceFuture Equity Incentive Plan has the meaning set forth in Article
6.2(ak) of the Plan.

       50.      42. Impaired means, with respect to a Class of Claims, a Class that is impaired within the
meaning of section 1124 of the Bankruptcy Code.

           51.   43. Initial Term has the meaning set forth in Article 6.2(fg) of the Plan.

         52.     Injunctions means those certain limitations and prohibitions imposed by preliminary
injunctions, freezing orders, and/or similar orders from courts in the British Virgin Islands and the United
States federal courts situated in the state of California.

        53.     IPO means an initial public offering on the New York Stock Exchange, Nasdaq, the
Hong Kong Stock Exchange, the London Stock Exchange, or any other internationally recognized stock
exchange (including in the PRC) with respect to the shares of outstanding capital stock of Smart King or
such other relevant listing vehicle, as applicable.

        54.      44. Initial Trust ExpensesKCBI Releasing Party has the meaning set forth in Article
6.211.4(gd) of the Plan.

           55.   45. IPOKCBI Settlement has the meaning set forth in Article 6.211.4(hd) of the Plan.

         56.      Key China Business Individuals are those certain Chinese individuals who have entered
into a KCBI Settlement with a KCBI Releasing Party. The Key China Business Individuals will be
identified in the Plan Supplement.

        57.    46. Late Filed Debt Claim means a Debt Claim filed after the Bar Date applicable
deadline set by the Bankruptcy Court to file proofs of claim in the Chapter 11 Case but before the



                                                      5
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                 Main Document    Page 16 of 60


occurrence of a Distribution Event that is recognized by YT, in his sole discretion, and in an amount to be
verified by the Trustee.

        58.      47. Late Filed Debt Claims ReserveClaim Order has the meaning set forth in Article
6.2(d) of the Plan.

       59.     Late Filed Debt Claims Reserve means the trust established for the benefit of holders of
Allowed Late Filed Debt Claims.

        60.     48. Lien means a lien as defined in section 101(37) of the Bankruptcy Code.

         61.     Liquidation Event means a (a) liquidation through an assignment for the benefit of
creditors, a receivership, a case under chapter 7 of the Bankruptcy Code, or a similar insolvency
proceeding of Smart King or future public listing vehicle for the global subsidiaries of FF, (b) a
liquidating case of FF under chapter 11 of the Bankruptcy Code, or (c) a reorganization case of FF under
chapter 11 of the Bankruptcy Code that materially reduces the percentage ownership of the Trust other
than by virtue of an equity investment or equity incentive.

        62.     49. Liquidity EventMarketable Securities has the meaning set forth in Article 6.2(fi) of
the Plan.

        63.     50. Marketable SecuritiesNew PT Units has the meaning set forth in Article 6.2(ha) of
the Plan.

        64.     Non-Debt Claim means any Claim against the Debtor that is (a) not a Debt Claim or
(b) otherwise determined by the Bankruptcy Court to be a Non-Debt Claim.

        65.      Other Distributions means (a) any amounts the holder of an Allowed Debt Claim
actually receives from the primary obligor or any guarantor besides the Debtor, of such Debt Claim based
on such holder’s contractual agreement with such primary obligor or guarantor, minus (b) any amounts
such holder actually receives upon the disposition of any assets that (i) have already been collateralized
by the Debtor or any other Person or Entity, (ii) have already been pledged by the Debtor or any other
Person or Entity, and (iii) the Debtor, Wei Gan, or any other Person or Entity own, and that have been
seized, attached, or frozen by Chinese judiciary authorities minus (c) if the primary debt obligation
underlying such Debt Claim is satisfied in whole or in part by conversion to equity in any jurisdiction, the
corresponding reduction in the amount of the Debt Claim on account of such conversion.

      66.       Pacific Technology means Pacific Technology Holding LLC, a Delaware limited liability
company.

        67.     51. Person means person as defined in section 101(41) of the Bankruptcy Code.

      68.     52. Petition Date means the date on which the Debtor filed his petition for relief
commencing the Chapter 11 Case.

       69.     53. Plan means this prepackagedfirst modified plan of reorganization under chapter 11 of
the Bankruptcy Code, including the exhibits and schedules hereto and the Plan Supplement, as may be
amended, supplemented, or modified from time to time in accordance with the Bankruptcy Code, the
Bankruptcy Rules, and the terms hereof.

       70.    54. Plan Distribution means a payment or distribution under the Plan to holders of
Allowed Claims or other eligible Entities.



                                                     6
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                 Main Document    Page 17 of 60


        71.     55. Plan Supplement means the compilation of documents (or forms or summary of
material terms thereof), schedules, and exhibits to the Plan (in each case as may be altered, amended,
modified, or supplemented from time to time in accordance with the terms hereof and in accordance with
the Bankruptcy Code and the Bankruptcy Rules) to be filed no later than five (5) days before the Voting
Deadline or such later date as the Bankruptcy Court may approve, including: (a) form and/or definitive
agreements and related documents with respect to the Trust Agreement; and (b) the Schedule of Rejected
Contracts and Leases; (c) the list of Key China Business Individuals; and (d) the identity of the initial
Trustee and the initial Creditor Trust Committee.

        72.     Plan Term Sheet means that certain Plan Term Sheet attached as Exhibit B to the
Disclosure Statement.

        73.     PRC means the People’s Republic of China.

        74.     Preferred PT Units has the meaning set forth in Article 6.2(a) of the Plan.

        75.     56. Priority Non-Tax Claim means any Claim entitled to priority in right of payment
under section 507(a) of the Bankruptcy Code that is not an Administrative Expense Claim or a Priority
Tax Claim.

        76.     57. Priority Tax Claim means any Claim entitled to priority in payment as specified in
section 507(a)(8) of the Bankruptcy Code.

         77.      58. Pro Rata means the proportion that an Allowed Claim in a particular Class bears to
the aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a
particular Class bear to the aggregate amount of Allowed Claims in a particular Class and other Classes
entitled to share in the same recovery as such Allowed Claim under the Plan.

        78.      59. Professional means an Entity (a) employed in the Chapter 11 Case pursuant to
sections 327, 328, 363, or 1103 of the Bankruptcy Code or otherwise, or (b) seeking or awarded
compensation or reimbursement of expenses in connection with the Chapter 11 Case pursuant to section
503(b)(4) of the Bankruptcy Code.

      79.     PT LLCA means that certain Third Amended and Restated Limited Liability Company
Agreement of Pacific Technology dated July 5, 2019.

        80.     60. Released Parties means, collectively, (a) the Debtor and the Estate; (b) the Debtor’s
wife, Wei Gan; (c) all Persons engaged or retained by the Debtor in connection with the Chapter 11 Case
(including in connection with the preparation of and analyses relating to the Disclosure Statement and the
Plan); and (dc) any and all advisors, attorneys, actuaries, financial advisors, accountants, investment
bankers, agents, professionals, and representatives of each of the foregoing Persons and Entities (whether
current or former, in each case in his, her, or its capacity as such).

        81.     61. Releasing Parties means, collectively, and each solely in its capacity as such: (a)
each Released Party; (b) each holder of a Non-Debt Claim that either (i) votes to accept the Plan or (ii) is
conclusively deemed to have accepted the Plan; and (c) all other holders of Non-Debt Claims to the extent
permitted by law.

        82.     62. Reorganized Debtor means the Debtor as reorganized under the Plan, and any
successor thereto on or after the Effective Date.

        83.     63. Retained Actions has the meaning set forth in Article 8.3 of the Plan.



                                                     7
Case 2:19-bk-24804-VZ             Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                    Desc
                                   Main Document    Page 18 of 60


        84.     64. Schedule of Rejected Contracts and Leases means a schedule of the executory
contracts and unexpired leases to be rejected pursuant to section 365 of the Bankruptcy Code and Article
9.1 hereof.

        85.      65. Schedules means the schedules of assets and liabilities to be filed by the Debtor on or
after the Petition DateOctober 17, 2019, as required by section 521 of the Bankruptcy Code and
Bankruptcy Rule 1007, including any supplements or amendments thereto through the Confirmation
Date.

       86.     66. Securities Act means the Securities Act of 1933, and all rules and regulations
promulgated thereunder.

       87.      SK M&A means that certain Fifth Amended and Restated Memorandum and Articles of
Association of Smart King dated October 12, 2019.

           88.     Smart King means Smart King Ltd., a company formed under the laws of the Cayman
Islands.

       89.     Smart King Transfer Right means the Debtor’s contractual right to direct Pacific
Technology to direct FF Peak to direct FF Top to transfer the Trust Smart King Shares to the Trust.

           90.     67. Smart KingStandstill Period has the meaning set forth in Article 6.211.4(c) of the
Plan.

           68. Smart King Shares has the meaning set forth in Article 6.2 of the Plan.

           91.     69. TrustTerm has the meaning set forth in Article 6.2(g) of the Plan.

           92.     Trust means, collectively, the Creditor Trust and the Late Filed Debt Claims Reserve.

        93.      70. Trust Agreement means that certain Trust Agreement, by and among, the Debtor and
the Trustee, on substantially similar terms as described in the Trust AgreementPlan Term sheet. A form of
the Trust Agreement will be included in the Plan Supplement.

        71. Trust Agreement Term Sheet means that certain Trust Agreement Term Sheet attached as
Exhibit A to the Disclosure Statement.

           94.     72. Trust Assets has the meaning set forth in Article 6.2(ab) of the Plan.

           95.     Trust Distributions means distributions paid from the Trust.

         96.      73. Trust Election means the election by a holder of an Administrative Expense Claim,
Priority Tax Claim, Priority Non-Tax Claim, or U.S. Secured Claim to receive their pro rata share of the
Trust Assets pursuant to the Distribution Waterfall on the dates of distributions to holders of the Trust
Interests in lieu of their assigned recoveries under the Plan.

        97.        74. Trust Expense Funded AmountInterest has the meaning set forth in Article 6.2(g) of
the Plan.

           98.     75. Trust InterestSmart King Shares has the meaning set forth in Article 6.2(a) of the
Plan.

           99.     76. Trustee has the meaning set forth in Article 6.2(de) of the Plan.


                                                        8
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 19 of 60


       100.    77. Unimpaired means, with respect to any Claim, or a Class of Claims, that is
unimpaired within the meaning of section 1124 of the Bankruptcy Code.

        101.    78. U.S. Secured Claim means a Claim against the Debtor that is secured by a valid,
unavoidable, perfected, and enforceable Lien on, or security interest in, property of the Debtor located in
the United States, or that has the benefit of rights of setoff under section 553 of the Bankruptcy Code, but
only to the extent of the value of the holder’s interest in the Debtor’s interest in such property, or to the
extent of the amount subject to setoff, the value of which shall be determined as provided in section 506
of the Bankruptcy Code.

       102.    79. U.S. Trustee means the United States Trustee for the Central District of
DelawareCalifornia.

        103.    80. Voting Agent means Epiq Corporate Restructuring, LLC.

       104.     81. Voting Deadline means 5:004:00 p.m. (Beijing Time) on November 8March 19,
20192020.

        105.    82. West CoastWarrant has the meaning set forth in Article 6.2(a) of the Plan.

        106.    83. West Coast InterestsWG Settlement has the meaning set forth in Article 6.211.4(e) of
the Plan.

        107.    84. YT Extension ExpensesYidao Claims has the meaning set forth in Article 6.2(gb) of
the Plan.

        108.    85. YT Extension TermClaims has the meaning set forth in Article 6.211.4(fc) of the
Plan.

        1.2.    Interpretation, Application of Definitions, and Rules of Construction.

                  (a)     For purposes of the Plan and unless otherwise specified herein (i) the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; (ii) any term that it not defined
herein, but that is used in the Bankruptcy Code or Bankruptcy Rules, shall have the meaning given to the
term in the Bankruptcy Code or Bankruptcy Rules, as applicable; (iii) any reference in the Plan to an
existing document, schedule, or exhibit, whether or not filed with the Bankruptcy Court, shall mean such
document, schedule, or exhibit, as it may have been or may be amended, modified, or supplemented;
(iv) any reference to an Entity as a holder of a Claim includes that Entity’s permitted successors and
assigns; and (v) all references to statutes, regulations, orders, rules of courts, and the like shall mean as
amended from time to time, as applicable to the Chapter 11 Case, unless otherwise stated.

                (b)    In computing any period of time prescribed or allowed by the Plan, the
provisions of Bankruptcy Rule 9006(a) shall apply.

                (c)      All references in the Plan to monetary figures refer to currency of the United
States of America.

                                           ARTICLE II
                                       UNCLASSIFIED CLAIMS

                In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, Priority Tax Claims, and Domestic Support Obligations have not been classified for purposes of



                                                     9
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                Main Document    Page 20 of 60


voting or receiving distributions. Rather, all such Claims are treated separately as unclassified Claims as
set forth in this Article II, and the holders thereof are not entitled to vote on the Plan.

        2.1     Administrative Expense Claims.

                (a)      Filing Administrative Expense Claims. The holder of an Administrative Expense
Claim, other than (i) a Claim covered by Article 2.2, (ii) a liability incurred and payable in the ordinary
course of business by the Debtor after the Petition Date, (iii) timely filed and Allowed Claims arising
under section 503(b)(9) of the Bankruptcy Code;, or (iv) an Administrative Expense Claim that has been
Allowed on or before the Administrative Expense Claim Bar Date, must file and serve on the
Reorganized Debtor a request for payment of such Administrative Expense Claim so that it is received no
later than the Administrative Expense Claim Bar Date pursuant to the procedures specified in the
Confirmation Order and the notice of the Effective Date. Holders required to file and serve, who fail to
file and serve, a request for payment of Administrative Expense Claims by the Administrative
Expense Claim Bar Date shall be forever barred, estopped, and enjoined from asserting such
Administrative Expense Claims against the Debtor or Reorganized Debtor and their property, and
such Administrative Expense Claims shall be deemed discharged as of the Effective Date. All such
Claims shall, as of the Effective Date, be subject to the permanent injunction set forth in Article
11.6 hereof. Notwithstanding the foregoing, pursuant to section 503(b)(1)(D) of the Bankruptcy Code, no
governmental unit shall be required to file a request for payment of any Administrative Expense Claim of
a type described in sections 503(b)(1)(B) or 503(b)(1)(C) of the Bankruptcy Code as a condition to such
Claim being Allowed.

                (b)     Allowance of Administrative Expense Claims. An Administrative Expense
Claim, with respect to which a request for payment has been properly and timely filed pursuant to Article
2.1(a) shall become an Allowed Administrative Expense Claim if no objection to such request is filed
with the Bankruptcy Court and served on the Debtor and the requesting party on or before the one-
hundred twentieth (120th) day after the Effective Date, as the same may be modified or extended by order
of the Bankruptcy Court. If an objection is timely filed, the Administrative Expense Claim shall become
an Allowed Administrative Expense Claim only to the extent allowed by Final Order or as such Claim is
settled, compromised, or otherwise resolved pursuant to Article 8.3.

                  (c)    Payment of Allowed Administrative Expense Claims. Except to the extent that an
Administrative Expense Claim has already been paid during the Chapter 11 Case, the holder of an
Allowed Administrative Expense Claim agrees to a less favorable treatment, or the Holder of an Allowed
Administrative Expense Claim makes a Trust Election, and except as provided in Article 2.2, each holder
of an Allowed Administrative Expense Claim against the Debtor shall receive, in full and complete
settlement, release, and discharge of such Claim, Cash equal to the unpaid amount of such Allowed
Administrative Expense Claim on the latest of (i) the Effective Date or as soon thereafter as reasonably
practicable; (ii) 30 days after the date on which such Administrative Expense Claim becomes Allowed;
(iii) the date on which such Administrative Expense Claim becomes due and payable in the ordinary
course of the Debtor’s business in accordance with the terms and subject to the conditions of any
agreements or understandings governing, or other documents relating to, such Allowed Administrative
Expense Claim; and (iv) such other date as may be agreed to by such holder and the Debtor or
Reorganized Debtor.

        2.2     Professional Fees.

               (a)     Final Fee Applications. Each Professional requesting compensation pursuant to
sections 327, 328, 330, 331, 363, 503(b), or 1103 of the Bankruptcy Code for services rendered in
connection with the Chapter 11 Case before the Effective Date shall (i) file with the Bankruptcy Court,



                                                    10
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 21 of 60


and serve on the Reorganized Debtor, an application for allowance of final compensation and
reimbursement of expenses in the Chapter 11 Case on or before the forty-fifth (45th) day following the
Effective Date, and (ii) after notice and a hearing in accordance with the procedures established by the
Bankruptcy Code and Bankruptcy Rules and any prior orders of the Bankruptcy Court in the Chapter 11
Case, be paid in full, in Cash, in such amounts as are Allowed.

                (b)     Ordinary Course Professional Fees and Expenses. The immediately preceding
paragraph shall not affect any professional-service Entity that is permitted to receive, and the Debtor is
permitted to pay, without seeking further authority from the Bankruptcy Court, compensation for services
and reimbursement of professional fees and expenses in the ordinary course of business (and in
accordance with any relevant prior order of the Bankruptcy Court), the payments for which may continue
notwithstanding the occurrence of confirmation of the Plan.

                 (c)      Post-Effective Date Fees and Expenses. From and after the Effective Date, the
Reorganized Debtor may, upon submission of appropriate documentation and in the ordinary course of
business, pay the post-Effective Date charges incurred by the Reorganized Debtor for any Professional’s
fees, disbursements, expenses, or related support services without application to or approval from the
Bankruptcy Court. On the Effective Date, any requirement that Professionals comply with sections 327
through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation for services rendered
after such date shall terminate, and the Reorganized Debtor may employ and pay any Professional for fees
and charges incurred from and after the Effective Date in the ordinary course of business without any
notice to or approval of the Bankruptcy Court.

        2.3     Priority Tax Claims.

                 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, each holder of an Allowed Priority Tax Claim against the Debtor shall receive, in full
and complete settlement, release, and discharge of such Claim, Cash equal to the unpaid amount of such
Allowed Priority Tax Claim on the latest of (a) the Effective Date or as soon thereafter as reasonably
practicable; (b) 30 days after the date on which such Priority Tax Claim becomes Allowed; (c) the date on
which such Priority Tax Claim becomes due and payable; and (d) such other date as may be mutually
agreed to by and among such holder and the Debtor or Reorganized Debtor; provided, however, that the
Reorganized Debtor shall be authorized, at his option, and in lieu of payment in full, in Cash, of an
Allowed Priority Tax Claim as provided above, to make deferred Cash payments on account thereof in
the manner and to the extent permitted under section 1129(a)(9)(C) of the Bankruptcy Code.

        2.4     Domestic Support Obligations.

                  On the Effective Date, the Debtor shall make any payments to comply with any
postpetition unfunded obligations on account of any Domestic Support Obligations, if any such
obligations exist, as may be required for the Debtor to be current with respect to such Domestic Support
Obligations as of the Effective Date pursuant to section 1129(a)(14) of the Bankruptcy Code. After the
Effective Date, the Debtor shall timely make all payments on account of Domestic Support Obligations to
the parties entitled to receive such payments, if any such obligations exist, in each case at the times and in
the amounts required by the agreements and orders evidencing such Domestic Support Obligations, as
such agreements may from time to time be modified in accordance with applicable law.

                                           ARTICLE III
                                    CLASSIFICATION OF CLAIMS

              The following table designates the Classes of Claims against the Debtor, and specifies
which Classes are (a) Impaired or Unimpaired; (b) entitled to vote to accept or reject the Plan in


                                                     11
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                 Main Document    Page 22 of 60


accordance with section 1126 of the Bankruptcy Code; and (c) deemed to accept the Plan. A Claim or
portion thereof is classified in a particular Class only to the extent that such Claim or portion thereof
qualifies within the description of such Class and is classified in a different Class to the extent that the
portion of such Claim qualifies within the description of such different Class.

        3.1     Class Identification.

                Claims against the Debtor are classified as follows:

Class                  Description                     Impairment               Entitled to Vote

 1      Priority Non- Tax Claims                         Unimpaired          No (deemed to accept)
 2      U.S. Secured Claims                              Unimpaired          No (deemed to accept)
 3      Debt Claims                                       Impaired                     Yes

                                             ARTICLE IV
                                        TREATMENT OF CLAIMS

        4.1     Priority Non-Tax Claims (Class 1).

                (a)     Classification. Class 1 consists of all Priority Non-Tax Claims.

                 (b)      Treatment. Except to the extent that a holder of an Allowed Priority Non-Tax
Claim agrees to less favorable treatment or makes a Trust Election, on the Effective Date or as soon
thereafter as practicable, each holder of an Allowed Priority Non-Tax Claim shall receive, at the option of
the Debtor and in full and complete settlement, release, and discharge of, and in exchange for, such Claim
(i) payment in full in Cash; or (ii) other treatment rendering such Claim Unimpaired. Any Allowed Class
1 Claim not due and owing on the Effective Date shall be paid in full, in Cash, when it becomes due and
owing.

                (c)      Impairment and Voting. Class 1 is Unimpaired. Holders of Claims in Class 1 are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code, and
accordingly, are not entitled to vote to accept or reject the Plan.

        4.2     U.S. Secured Claims (Class 2).

                (a)     Classification. Class 2 consists of all U.S. Secured Claims.

                  (b)     Treatment. Except to the extent that a holder of an Allowed U.S. Secured Claim
agrees to less favorable treatment or makes a Trust Election, on the Effective Date or as soon thereafter as
practicable, each holder of an Allowed U.S. Secured Claim shall receive, at the option of the Debtor and
in full and complete settlement, release, and discharge of, and in exchange for, such Claim (i) payment in
full in Cash;, (ii) delivery of collateral securing any such Claim;, (iii) reinstatement pursuant to section
1124 of the Bankruptcy Code;, or (iv) other treatment rendering such Claim Unimpaired.

                (c)      Impairment and Voting. Class 2 is Unimpaired. Holders of Claims in Class 2 are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code, and
accordingly, are not entitled to vote to accept or reject the Plan.




                                                    12
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                Main Document    Page 23 of 60


        4.3     Debt Claims (Class 3).

                (a)     Classification. Class 3 consists of all Debt Claims.

                (b)       Treatment. Except to the extent that a holder of an Allowed Debt Claim agrees to
less favorable treatment, each holder of an Allowed Debt Claim shall receive, in full and complete
settlement, release, and discharge of, and in exchange for, such Claim, its Pro Rata share of the Trust
Interests, which distribution shall be made in accordance with Article 6.2 of the Plan.

                  (c)     Impairment and Voting. Class 3 is Impaired. Holders of Claims in Class 3 are
entitled to vote to accept or reject the Plan.

                                      ARTICLE V
                          ACCEPTANCE OR REJECTION OF THE PLAN

        5.1     Class Acceptance Requirement.

                Pursuant to section 1126(c) of the Bankruptcy Code, and except as otherwise provided in
section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims shall have accepted the Plan if it is
accepted by at least two thirds (2/3) in dollar amount and more than one-half (1/2) in number of holders
of the Allowed Claims in such Class that have voted on the Plan.

        5.2     Deemed Acceptance by Non-Voting Classes.

                If a Class contains Claims eligible to vote and no holder of a Claim eligible to vote in
such Class votes to accept or reject the Plan, the Plan shall be deemed accepted by such Class.

        5.3     Elimination of Vacant Classes.

                 Any Class of Claims that does not have at least one holder of an Allowed Claim or a
Claim temporarily Allowed as of the date of the Confirmation Hearing shall be deemed eliminated from
the Plan for purposes of voting to accept or reject the Plan and for purposes of determining acceptance or
rejection of the Plan pursuant to section 1129(a)(8) of the Bankruptcy Code.

        5.4     Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code.

                Section 1129(b) of the Bankruptcy Code provides for confirmation (or “cram-down”) of a
plan of reorganization even if the plan is not accepted or deemed accepted by all impaired classes of
claims, as long as at least one impaired class of claims has voted to accept the plan and certain other
requirements are met. Subject to Article 13.7 of the Plan, the Debtor reserves the right to alter, amend,
modify, revoke, or withdraw thisthe Plan or any related document in order to satisfy the requirements of
section 1129(b) of the Bankruptcy Code. The Debtor also reserves the right to request confirmation of the
Plan, as it may be modified, supplemented, or amended from time to time, with respect to any Class that
affirmatively votes to reject the Plan.

                                     ARTICLE VI
                        MEANS FOR IMPLEMENTATION OF THE PLAN

        6.1     Compromise of Controversies.

               In consideration for the Plan Distributions, releases, and other benefits provided under the
Plan, upon the Effective Date, the provisions of the Plan constitute a good faith compromise and


                                                    13
Case 2:19-bk-24804-VZ            Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                  Main Document    Page 24 of 60


settlement of all Claims and controversies relating to any Allowed Claim or any Plan Distribution to be
made on account thereof or otherwise resolved under the Plan.

                 The Plan shall be deemed a motion to approve the good faith compromise and settlement
of all such Claims and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of such compromise and settlement under section
1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court
that such settlement and compromise is fair, equitable, reasonable, and in the best interests of the Debtor
and his Estate. All Plan Distributions made in accordance with the Plan are intended to be, and shall be,
final.

        6.2     The Trust.

                 On or after the Effective Date, the Debtor or the Reorganized Debtor shall (a) transfer the
economic interests in 90,588,235 units (representing 100% of the issued and outstanding units) of West
Coast LLC (“West Coast”), a Delaware limited liability company (the “West Coast Interests”) and (b)
cause to be transferred 147,058,823 Class B Preferred Shares of Smart King Ltd. (“Smart King”), a
company formed under the laws of the Cayman Islands, which, upon transfer, will automatically convert
into Class B Ordinary Shares on a one-to-one basis (the “Smart King Shares”) to (i) the 2019 Creditor
Liquidating Trust for the benefit of holders of Allowed Debt Claims (the “Creditor Trust”) and (ii) a trust
for the benefit of holders of Late Filed Debt Claims (the “Late Filed Debt Claims Reserve” and together
with the Creditor Trust, the “Trust”).

                 Each holder of an Allowed Debt Claim or Allowed Late Filed Debt Claim shall receive a
beneficial interest (a “Trust Interest”) in the Creditor Trust or the Late Filed Debt Claims Reserve, as
applicable, based on the formulas set forth below. The Trust will preserve, hold, manage, and maximize
the Trust Assets (as defined below) for use in paying and satisfying the holders’ Claims upon the earlier
to occur of (x) the consummation of a LiquidityLiquidation Event or a Distribution Event and (y) the
termination of the Trust in accordance with the Trust Agreement.

                (a)      Corporate Structure and Governance.

                On the Effective Date, the managing member of Pacific Technology shall amend the PT
LLCA to:

                         (i)     provide that the Trust is a member of Pacific Technology and the holder
                                 of 100% of the preferred membership units of Pacific Technology
                                 (the “Preferred PT Units”);

                         (ii)    issue new units of Pacific Technology to the Trust (the “New PT Units”),
                                 entitling the Trust to 100% of the economic value of 147,058,823 Class
                                 B shares of Smart King (the “Trust Smart King Shares”); and

                         (iii)   grant the Trust a fully paid-up warrant to receive the Trust Smart King
                                 Shares consistent with the Smart King Transfer Right with no further
                                 action by the Debtor, exercisable upon the dissolution of the Injunctions
                                 (the “Warrant”).

                  The Preferred PT Units and the New PT Units shall vest in the Trust free and clear of any
and all liens, claims, encumbrances, contractual restrictions, and other interests pursuant to section 363 of
the Bankruptcy Code; provided that the Preferred PT Units and the New PT Units shall be subject to the



                                                     14
Case 2:19-bk-24804-VZ            Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                     Desc
                                  Main Document    Page 25 of 60


PT LLCA as amended on the Effective Date pursuant to, and consistent in all material respects with, the
Plan Term Sheet and the Plan.

               Upon the dissolution of the Injunctions, the Warrant shall be deemed automatically
exercised and FF Top shall transfer the Trust Smart King Shares directly to the Trust pursuant to the SK
M&A. Upon the indefeasible transfer of the Trust Smart King Shares to the Trust pursuant to the Warrant,
the New PT Units shall be deemed retired.

                (b)     (a) Trust Assets.
                  The assets of the Trust shall consist of the following: (i) the economic interest in
90,588,235 units of West Coast (representing 100% of the issued and outstanding units of West Coast);
(ii) 147,058,823 Smart King Shares; and (iii) the Trust Expense Funded Amount contributed to the Trust
by a postpetition lender (the “Funding Source”) as provided in the Trust Agreement Term Sheet
(collectively, the “Trust Assets”).:

                        (i)      100% of the Preferred PT Units;

                        (ii)     100% of the New PT Units;

                        (iii)    the Warrant;

                        (iv)     following the exercise of the Warrant and the indefeasible transfer of the
                                 Trust Smart King Shares to the Trust, the Trust Smart King Shares;

                        (v)      any financial assets of the Debtor (i.e., accounts, security, or real
                                 property) located in the PRC after satisfaction of any claims recoverable
                                 from such assets under applicable law;

                        (vi)     all interests, claims, and Causes of Action owned by the Debtor
                                 (including through any nominee) in connection with Beijing Dongfang
                                 Cheyun Information Technology Co., Ltd. (the “Yidao Claims”);

                        (vii)    property transferred to the Trust under section 542 of the Bankruptcy
                                 Code in accordance with Article 11.9 of the Plan;

                        (viii)   subject to certain rights of FF Global in connection with the Call Option,
                                 the disposition of such Call Option as set forth below in Article 6.2(l) of
                                 the Plan; and

                        (ix)     the Trust expense funded amount contributed to the Trust by a
                                 postpetition lender as provided in the Plan Term Sheet.

                (c)     (b) Voting Rights With Respect to the Trust Assets.
                   The Trustee willshall exercise all voting rights, if any, with respect to the Trust Smart
King Shares as directed by FF Top Holding Ltd.; provided that the exercise of such voting rights shall be
in accordance with (i) the organizational and governing documents of Smart King, (ii) such other
agreements that are in effect as of the date of the Trust Agreement (including the certain Fourth Amended
and Restated Memorandum and Articles of Association of Smart King adopted as of May 15, 2019), and
(iii) that certain Restructuring Agreement, dated as of December 31, 2018, by and among Smart King, YT
Season Smart Limited, a company formed under the laws of the British Virgin Islands, and the other



                                                    15
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 26 of 60


parties thereto, in each case, to the extent applicable.owned by the Trust after the exercise of the Warrant.
Prior to the occurrence of an IPO, the Debtor will use commercially reasonable efforts to provide the
Creditor Trust Committee with observer rights regarding the committee meetings held by the committee
of managers of FF Global.

                (d)      (c) Late Filed Debt Claims Reserve.
                 On the Effective Date, the Debtor shall transfer 10% of the West Coast Interests and
Smart King Shares respectively toTrustee shall (i) establish the Late Filed Debt Claims Reserve for the
benefit of holders ofany Allowed Late Filed Debt Claims and (ii) transfer 10% of the Trust Assets to the
Late Filed Debt Claims Reserve. The Late Filed Debt Claims Reserve will have no operations other than
to make distributions to holders of Late Filed Debt Claims in accordance with the Distribution
WaterfallTrust Agreement and will be managed by the Trustee pursuant to a separate trust agreement with
substantially similar governance terms as the Trust Agreement. At the conclusion of the Standstill Period,
any unallocated assets in the Late Filed Debt Claims Reserve shall revert to the Creditor Trust for the
ratable benefit of holders of Allowed Debt Claims.

                 In order for a Late Filed Debt Claim to be Allowed and participate in the Late Filed Debt
Claims Reserve, the Debtor and the Trustee shall make commercially reasonable efforts to agree that
allowance of such Late Filed Debt Claim in a particular amount is in the best interests of the Debtor and
the Trust. If the Debtor and the Trustee do not agree to the allowance or amount of any Late Filed Debt
Claim, the Debtor may, upon notice and a hearing, seek entry of a Bankruptcy Court order allowing such
Late Filed Debt Claim (a “Late Filed Debt Claim Order”). In seeking any Late Filed Debt Claim Order,
the Debtor shall bear the burden of demonstrating to the Bankruptcy Court that allowance of such Late
Filed Debt Claim is in the best interests of the Debtor and the Trust.

                  The Trustee shall have the right in its discretion to (i) exchange the Late Filed Debt
Claims Reserve’s portion of the West Coast Interests and Smart King Shares for direct Trust Interests in
the Creditor Trust, which shall provide the beneficiaries of the Late Filed Debt Claims Reserve with the
same share of distributions they are otherwise entitled to receive under the Distribution Waterfall, and (ii)
distribute such Trust Interests to the beneficiaries of the Late Filed Debt Claims Reserve in exchange for
their beneficial interests in the Late Filed Debt Claims Reserve.

                In order for a holder of a Late Filed Debt Claim to receive a distribution from the Late
Filed Debt Claims Reserve, such holder must execute a full release of the Debtor and his wife Wei Gan
from personal liability on all claims in every jurisdiction. Any distribution to a Late Filed Debt Claim
shall be from the Late Filed Debt Claims Reserve and holders of Late Filed Debt Claims shall have no
recourse against the Creditor Trust or the Debtor.

                (e)      (d) Appointment of the Trustee.
                         On or after the Effective Date,There shall be one (1) trustee (the “Trustee”) shall
be appointedof the Trust. The initial Trustee shall be disclosed in the Plan Supplement. Any successor
Trustee shall be selected by majority vote of the Creditor Trust Committee in accordance with the Trust
Agreement, the identity of which shall be disclosed prior to confirmation of the Plan. The Trust
Agreement shallwhich shall set forth certain criteria with respect to the relevant experience and
independence criteriaqualifications for the Trustee.

                  The Trustee shall act as a fiduciary and shall not be personally liable in connection with
the affairs of the Trust or to any person except for such of the Trustee’s acts or omissions that constitute
fraud, willful misconduct, or gross negligence, as determined by a final order of a court of competent
jurisdiction. In addition, the Trustee shall be indemnified by the Trust against and held harmless by the


                                                     16
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 27 of 60


Trust from any losses, claims, damages, liabilities, or expenses (including, without limitation, attorneys’
fees, disbursements, and related expenses) to which the Trustee may become subject in connection with
any action, suit, proceeding, or investigation brought or threatened against the Trustee in connection with
any matter arising out of or related to the Trust Agreement or the affairs of the Trust (other than in respect
of acts or omissions that constitute fraud, willful misconduct, or gross negligence, as determined by a
court of competent jurisdiction). The Trustee shall be entitled to obtain customary fiduciary and/or errors
and omissions liability insurance and engage independent legal counsel and financial advisors to assist
with its evaluation of any matters with respect to the Trust, including any LiquidityLiquidation Event.

                 The Trustee shall be compensated by the Trust in an amount not to exceed $100,000 per
annum (unless approved by the Creditor Trust Committee)from Trust Assets pursuant to the Trust
Agreement. The Trustee shall be entitled to reimburse itself out of any available cash in the Trust, for its
actual out-of-pocket expenses and shall be indemnified by the Trust from Trust Assets against and from
any and all loss, liability, expense, or damage, which the Trustee may sustain in good faith and without
willful misconduct, gross negligence, or fraud in the exercise and performance of any of the powers and
duties of the Trustee under the Trust Agreement.

                The Trustee may resign upon not less than sixty (60) days’ advance written notice to the
Creditor Trust Committee so long as, with such resignation to take effect once a replacement
trusteeTrustee has been appointed. The Creditor Trust Committee may remove the Trustee in the event
the Trustee commits any act or omission that constitutes fraud, breach of fiduciary duty, willful
misconduct, or gross negligence. Upon the removal of the Trustee as set forth in the immediately
preceding sentence, the Creditor Trust Committee shall have the right to appoint a replacement Trustee,
subject to approval by the Debtor (which approval shall not be unreasonably withheld).

                (f)      (e) Creditor Trust Committee.
               Holders of Trust Interests will be represented by a committee that shall consist of a
number of holdersno more than five (5) creditors holding of Allowed Debt Claims, or their designees (the
“Creditor Trust Committee”), the responsibilities and governance of which are set forth in the Trust
AgreementPlan Term Sheet. The initial members of the Creditor Trust Committee must be acceptable to
the Committee and will be disclosed in the Plan Supplement.

                (g)      (f) Term of the Trust.
                 The term of the Trust (the “Term”) will initially extend until the fifth (5th) anniversary of
the Effective Date (the “Initial Term”). If the completion of an IPO occurs during the Initial Term, the
Term and the Standstill Period shall be automatically extended through the conclusion of the selloff
period for the Marketable Securities as set forth on Exhibit B to the Plan Term Sheet. If the completion of
the IPO has not occurred during the Initial Term, the Trustee may elect to extend the Term for successive
one-year periods (or such other periods as the Trustee determines to be appropriate) to the extent
necessary to allow for orderly liquidation of any remaining Trust Assets.




                                                     17
Case 2:19-bk-24804-VZ            Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                        Desc
                                  Main Document    Page 28 of 60


         The term of the Trust will extend until the sixth (6th) anniversary of the effective date of the Trust
Agreement (such six (6)-year period, the “Initial Term”). The Creditor Trust Committee may, upon
delivery of written notice to the Trustee not later than ninety (90) days prior to the expiration of the Initial
Term, elect to extend the Initial Term for up to three (3) additional one (1)-year periods (each, a “Creditor
Extension Term”) to allow for orderly liquidation of any remaining Trust Assets. Subject to the
limitations set forth above, the Creditor Trust Committee may, upon delivery of written notice to the
Trustee not later than ninety (90) days prior to the expiration of the then-current Creditor Extension Term,
elect to extend such Creditor Extension Term.

                 If the completion of an IPO occurs during the Initial Term, the Debtor may, upon
delivery of written notice to the Trustee and the Creditor Trust Committee not later than ninety (90) days
prior to the expiration of the Initial Term, elect to extend the Initial Term for up to three (3) additional one
(1)-year periods (each, a “YT Extension Term”) in his sole discretion to liquidate any Smart King Shares
that remain unsold as of the expiration of the Initial Term.

                 The Trustee shall dissolve and wind up the Trust and distributiondistribute the Trust
Assets upon the expiration of (i) the Initial Term if no YT Extension Term or Creditor Extension
Termextension (automatic or otherwise) is exercised or (ii) the expiration of the applicable YT Extension
Term or Creditor Extension Term, as applicableany extended Term of the Trust. The Trustee may
dissolve the Trust before the end of the Initial Term, any Creditor Extension Term, or any YT
Extensionextended Term if: (x) all Allowed Debt Claimof the Trust Assets have been distributed in
accordance with the Distribution Amounts are fully paid and satisfiedWaterfall and the Debtor has
approved the dissolution of the Trust or (y) upon the liquidation, dissolution, or winding up of Smart King
(a “Liquiditya Liquidation Event”). Upon termination of the Trust, the Trustee will obtain a valuation of
the Trust Assets as of the termination date (performed by an independent valuation firm selected by the
Trustee and approved by the Creditor Trust Committee and the Debtor) and shall, as promptly as
practicable following the completion of the independent valuation, distribute the Trust Assets in kind to
the holders of Allowed Debt Claims in accordance with the distribution waterfall set forth on Exhibit A to
the Trust AgreementPlan Term Sheet.

                 (h)     (g) Expenses of the Trust.
                The professional fees, costs, and other expenses incurred by the Trustee in connection
with the administration of the Trust shall be paid from the proceeds of the Trust Financing and the
relevant Trust Assets.

                 On the effective date of the Trust Agreement, the Funding Source will contribute to the
Trust as part of the Trust Assets $600,000 in immediately available funds for the purposes of funding the
Trust’s administration during the first three (3) years of the Initial Term, including for retaining
independent third party advisors (legal counsel, an independent registered accounting firm, and an
independent valuation firm, among others), compensating the Trustee, and paying such other fees and
expenses incidental to the management and administration of the Trust Assets during the first three (3)
years of the Initial Term. For each year during the Initial Term thereafter, no later than thirty (30) days
following the beginning of such year, the Funding Source shall contribute to the Trust as part of the Trust
Assets $200,000 in immediately available funds for the purposes of funding the Trust’s administration
during such year (the expenses referred to in this paragraph are referred to herein as the “Initial Trust
Expenses”). For purposes of clarification, in no event shall the Funding Source be required during the
Initial Term to contribute to the Trust as part of the Trust Assets more than $1,200,000.

               In the event that the Debtor elects to extend the duration of the Trust beyond the Initial
Term pursuant to a YT Extension Term, the Funding Source will contribute to the Trust as part of the



                                                      18
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 29 of 60


Trust Assets $200,000 in immediately available funds for the purposes of funding the Trust’s
administration during such YT Extension Term (such expenses, the “YT Extension Expenses”). In the
event that the Creditor Trust Committee elects to extend the duration of the Trust beyond the Initial Term,
the holders of Trust Interests shall obtain financing for the Trust in the amount of $200,000 in the
aggregate for each Creditor Extension Term (with each holder bearing his, her, or its pro rata share of
such amount) for the purposes of funding the Trust’s administration (the “Additional Trust Expenses”
and, together with the Initial Trust Expenses and the YT Extension Expenses the “Trust Expense Funded
Amount”).

                (i)      (h) Distribution of Trust Assets.
         On or after the completion of an initial public offering on the New York Stock Exchange,
Nasdaq, the Hong Kong Stock Exchange, the London Stock Exchange, or any other internationally
recognized stock exchange with respect to the shares of outstanding capital stock of Smart King or such
other relevant listing vehicle, as applicable (an “IPO”), theUpon receipt of the distributable proceeds
received by the Trust from (i)for any disposition of Smart King Shares or (ii), or dividends or
distributions in respect, of the Smart King Shares or the interest in West Coast (eachany Trust Assets
(such proceeds, the “Distributable Proceeds” and such an event, a “Distribution Event”), the Distributable
Proceeds will be distributed in accordance with the Distribution Waterfall upon the earlier of (i) sixty (60)
days following the occurrence of such Distribution Event, and (ii) the termination of the Trust.

                 The Trustee may delay or defer the distribution of any proceedsDistributable Proceeds
(whether cash, securities, or other property) received by the Trustee in respect of the Trust Assets if the
Trustee determines that such deferral or delay is in the best interests of the holders of Trust Interests
(including if (i) the Trust or the Trust Assets are bound by an injunction, freeze order, judgment, or
similar order or proceeding affecting such distribution or (ii) such distribution would violate any court
order or applicable law).

        The decision as to when and how much of the Trust Assets to dispose of after an IPO will be
governed in accordance with the schedule attached as Exhibit B to the Trust Agreement Term Sheet, and
the Trustee will, in accordance with instructions in compliance with such schedule, sell, transfer, or
otherwise dispose of any securities that are listed (the “Marketable Securities”) in one or more open
market transactions, private placement, or derivative transactions. The proceeds shall be distributed in
accordance with the Distribution Waterfall.

                 The schedule for disposition of shares of Smart King directly owned by the Trust and that
are registered under securities law or listed (the “Marketable Securities”) shall be governed in accordance
with Exhibit B to the Plan Term Sheet. The PT LLCA will include provisions that the managing member
of Pacific Technology will use commercially reasonable efforts to dispose of Marketable Securities
owned or controlled by Pacific Technology in which the Trust owns a beneficial interest on a similar
schedule until the priority distribution of $815.7 million in connection with the preferred units of Pacific
Technology is paid to the Trust. The Distributable Proceeds shall be distributed in accordance with the
Distribution Waterfall.

                  At any time upon the Debtor’s request of the managing member of Pacific Technology,
and subject to applicable securities law, the Trustee willshall distribute the Marketable Securities in kind
to the holders of Trust Interests in lieu of any cash distribution. The value of the Marketable Securities
willshall be the average closing trading price for the five (5) consecutive trading days immediately prior
to the distribution.

                (j)      (i) Distribution Waterfall.



                                                       19
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                     Desc
                                Main Document    Page 30 of 60


                  The Trust Assets of the Creditor Trust and the Late Filed Debt Claims Reserve shall be
distributed to the Funding Source, holders of eligible Claims that made a Trust Election, holders of the
Trust Interests, and the Debtor as follows:

                       (i)     First, pro rata from the Creditor Trust and the Late Filed Debt Claims
                               Reserve, to the Funding Source, an amount equal to the amount
                               contributed by the Funding Source during the Initial Term to provide for
                               (x) the Initial Trust Expenses and (y) the YT Extension Expenses, if
                               any;to repay the Trust Financing, if any, pursuant to the terms thereof
                               and the Trust Agreement;

                       (ii) Second, pro rata from the Creditor Trust and the Late Filed Debt Claims
                               Reserve, to each holder of Trust Interests, an amount equal to such
                               holder’s pro rata share of the Additional Trust Expenses, if any;

                       (ii)    (iii) Third, pro rata from the Creditor Trust and the Late Filed Debt
                               Claims ReserveSecond, to each holder of an Administrative Expense
                               Claim, Priority Tax Claim, Priority Non-Tax Claim, or U.S. Secured
                               Claim that has made a Trust Election, equal to the Allowed amount of
                               such Claim plus the applicable interest rate provided in the Trust
                               Agreement;

                       (iv) Fourth, the remaining Trust Assets of the Late Filed Debt Claims Reserve, to
                               holders of Late Filed Debt Claims, an amount equal to such holder’s pro
                               rata share of the remaining Trust Assets held in the Late Filed Debt
                               Claims Reserve (after accounting for the distributions pursuant to clauses
                               (i) through (iii) above, if any), until such holder has received aggregate
                               distributions (in cash or in kind) pursuant to this clause (iv) equal to the
                               lessor of (x) such holder’s pro rata share of remaining Trust Assets that
                               would be available to satisfy all Allowed Debt Claims and Late Filed
                               Debt Claims; and (y) the full amount of such Late Filed Debt Claim as
                               verified by the Trustee;

                       (v) Fifth, to the Creditor Trust, 100% of the amount of the remaining Trust
                               Assets held in the Late Filed Debt Claims Reserve (after accounting for
                               the distributions pursuant to clauses (i) through (iv) above), if any;

                       (iii)   (vi) Sixth, the Trust Assets remaining in the Creditor Trust after
                               distributions pursuant to clauses (i) through (iii) above and contributions
                               from clause (v) above, toThird, to (x) holders of Allowed Debt Claims,
                               an amount equal to such holder’s pro rata share95% of the remaining
                               proceeds held in the CreditorTrust Assets, if any, and (y) the Debtor, 5%
                               of the remaining Trust Assets (or the economic equivalent of such Trust
                               Assets as set forth in the Trust Agreement), if any, until sucheach holder
                               of an Allowed Debt Claim has received aggregate distributionsTrust
                               Distributions (in cash or in kind) pursuant to this clause (viiii) equal to
                               the full amount of such holder’s Allowed Debt Claim Distribution
                               Amount; and

                       (iv)    Fourth, after all holders of Allowed Debt Claims have received Trust
                               Distributions equal to their respective Allowed Debt Claim Distribution
                               Amounts, any remaining Trust Assets shall be allocated between the


                                                  20
Case 2:19-bk-24804-VZ            Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                  Desc
                                  Main Document    Page 31 of 60


                                 holders of Allowed Debt Claims (to be further allocated pro rata based
                                 on their respective Allowed Debt Claim Allocation Amounts) and the
                                 Debtor, as follows:

                                          The Debtor           Holders of Allowed Debt Claims
      Amounts less than $1B                  50%                             50%
      Amounts greater than $1B <             70%                             30%
      $2B
      Amounts greater than $2B <                80%                                    20%
      $3B
      Amounts greater than $3B                 100%                                      -
                (vii) Seventh, to the Debtor, 100% of the amount of the remaining proceeds (after
accounting for the distributions pursuant to clauses (i), (ii), (iii), (iv), and (vi) above), if any.
                (k)      (j) 2019Future Equity Incentive Plan.
                 In order to align incentives and reward the Debtor and other key members of
management infor achieving Smart King’sFF’s strategic goals, it is anticipated that Smart King will adopt
a management incentive equity plan subject to the consummation of the restructuring (the “2019 Equity
Incentive Plan”). The board of directors of Smart King maywill be adopted to grant certain stock-based
awards to or at the direction of the Debtor upon the achievement of financial targets upon a Distribution
Event, provided that the stock-based awards granted to the Debtor shall not exceed the awards set forth
below without the consent of the Trustee (which consent shall not be unreasonably withheld) (the “Future
Equity Incentive Plan”). The total available equity awards under the 2019Future Equity Incentive Plan
will be as follows:

  Smart King Total Equity
            Value
                                       $5,000                 $10,000                    $21,000
   (in thousandsmillions of
             USD)
Dilution of outstanding and
                                         2%                Additional 3%             Additional 3%
reserved shares on the date of
                                   (Post series B)          (Post IPO)                (Post IPO)
valuation




                                                     21
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 32 of 60


                 Nothing in the Plan shall be construed as to prohibit or restrict in any manner any
subsequent equity investment or equity incentive in Smart King or any of its subsidiaries by any person;
provided that in no event shall any equity incentive program adopted by Smart King or any other direct or
indirect subsidiary of Pacific Technology grant the Debtor any equity interest greater than, or on terms
more favorable than, the above equity awards without the consent of the Trustee (which consent shall not
be unreasonably withheld).

                (l)      Call Option.

                 The Debtor may transfer the Call Option in connection with a bona-fide third-party
financing of Smart King not less than $100 million without the consent of the Trustee; provided that the
Call Option may be made available for other business purposes of Smart King subject to the consent of
the Trustee (which consent shall not be unreasonably withheld); provided further that the proceeds, if any,
distributed to the Debtor in connection with a transfer of the Call Option shall constitute Trust Assets.

        6.3     Cancellation of Liens.

                  Except as provided otherwise in thisthe Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan, all Liens on assets located in the United States that
secure any U.S. Secured Claim shall be fully released, settled, discharged, and compromised and all
rights, titles, and interests of any holder of such mortgages, deeds of trust, Liens, pledges, or other
security interests against any property of the Estate shall revert to the Reorganized Debtor and his
successors and assigns, and the holder of such U.S. Secured Claim shall be authorized and directed, at the
sole cost and expense of the Reorganized Debtor, to release any collateral or other property of the Debtor
(including any cash collateral and possessory collateral) held by such holder, and to take such actions as
may be reasonably requested by the Reorganized Debtor to evidence the release of such Lien, including
the execution, delivery, and filing or recording of such releases. The filing of the Confirmation Order
with any federal, state, provincial, or local agency or department shall constitute good and sufficient
evidence of, but shall not be required to effect, the termination of such Liens.

                                            ARTICLE VII
                                         PLAN DISTRIBUTIONS

        7.1     Plan Distributions.

                The Debtor shall make all Plan Distributions to the appropriate holders of Allowed
Claims in accordance with the terms of thisthe Plan.

        7.2     Allocation of Plan Distributions Between Principal and Interest.

                 The aggregate consideration to be distributed to the holders of Allowed Claims under the
Plan shall be treated as first satisfying an amount equal to the stated principal amount of the Allowed
Claims of such holders, as determined for federal income tax purposes, and any remaining consideration
as satisfying accrued, but unpaid, interest, if any.

        7.3     No Postpetition Interest on Claims.

                 Other than as specifically provided in the Plan, Confirmation Order, or other order of the
Bankruptcy Court, or required by applicable bankruptcy or non-bankruptcy law, postpetition interest shall
not accrue or be paid on any prepetition Claim, and no holder of a prepetition Claim shall be entitled to
interest accruing on such Claim on or after the Petition Date.



                                                     22
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 33 of 60


        7.4     Date of Plan Distributions.

                Except as otherwise provided herein, any distributions and deliveries to be made under
the Plan shall be made on the Effective Date or as soon as practicable thereafter. In the event that any
payment or act under the Plan is required to be made or performed on a date that is not a Business Day,
the making of such payment or the performance of such act may be completed on the next succeeding
Business Day, but shall be deemed to have been completed as of the required date.

        7.5     Distribution Record Date.

                 As of the close of business on the Distribution Record Date, the various lists of holders of
Claims in each of the Classes, as maintained by the Debtor, shall be deemed closed and there shall be no
further changes in the record holders of any of the Claims after the Distribution Record Date. The Debtor
shall have no obligation to recognize any transfer of Claims occurring after the close of business on the
Distribution Record Date. The Debtor and the Reorganized Debtor, as applicable, shall be entitled to
recognize and deal for all purposes hereunder only with those holders stated on the transfer ledgers as of
the close of business on the Distribution Record Date, to the extent applicable.

        7.6     Delivery of Plan Distribution.

                 Subject to the provisions contained in this Article VII and subject to Bankruptcy Rule
9010, the Debtor shall make all Plan Distributions or payments to any holder of an Allowed Claim as and
when required by thisthe Plan at: (a) the address of such holder on the books and records of the Debtor or
his agents; or (b) the address in any written notice of address change delivered to the Debtor, including
any addresses included on any filed proofs of claim or transfers of claim filed with the Bankruptcy Court.
In the event that any Plan Distribution to any holder is returned as undeliverable, no distribution or
payment to such holder shall be made unless and until the Debtor has been notified of the then current
address of such holder, at which time or as soon as reasonably practicable thereafter such Plan
Distribution shall be made to such holder without interest; provided, however, such Plan Distributions or
payments shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the
expiration of one (1) year from the Effective Date.

        7.7     Unclaimed Property.

                 Except with respect to the Trust Interests held in the Trust, one (1) year from the later of:
(a) the Effective Date, and (b) the date that a Claim is first Allowed, all unclaimed property or interests in
property distributable hereunder on account of such Claim shall revert to the Reorganized Debtor or the
successors or assigns of the Reorganized Debtor, and any claim or right of the holder of such Claim to
such property or interest in property shall be discharged and forever barred. The Reorganized Debtor shall
have no obligation to attempt to locate any holder of an Allowed Claim other than by reviewing the
Debtor’s books and records, the proofs of Claim filed against the Debtor, as reflected on the claims
register maintained by the Voting Agent, and any change of address reflected on the docket of the Chapter
11 Case.

        7.8     Satisfaction of Claims.

               Unless otherwise provided herein, any Plan Distributions and deliveries to be made on
account of Allowed Claims hereunder shall be in complete settlement, satisfaction, and discharge of such
Allowed Claims.

        7.9     Manner of Payment Under Plan.



                                                     23
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                 Main Document    Page 34 of 60


                Except as specifically provided herein, at the option of the Reorganized Debtor, any Cash
payment to be made hereunder may be made by a check or wire transfer or as otherwise required or
provided in applicable agreements or customary practices of the Debtor or the Reorganized Debtor.

        7.10    No Distribution in Excess of Amount of Allowed Claim.

                 Notwithstanding anything to the contrary herein, no holder of an Allowed Claim shall, on
account of such Allowed Claim, receive a Plan Distribution of a value in excess of the Allowed amount of
such Claim plus any postpetition interest on such Claim, to the extent such interest is permitted by Article
7.3 of thisthe Plan.

                To the extent any holder of an Allowed Debt Claim continues to have claims against any
other Person or Entity (other than the Debtor or his wife, Wei Gan, or a Key China Business Individual, if
applicable), subject to the following proviso, such claims will remain outstanding notwithstanding the
transactions contemplated hereby; provided, however, if on and after the date on which the claimsclaim of
any holder of an Allowed Debt Claim is paid in full in accordance with the terms of thisthe Plan, any such
Allowed Debt ClaimsClaim shall thereafter be deemed to be and in fact, paid in full in theirits entirety.
Furthermore, to the extent any holder of an Allowed Debt Claim has security or possession of any
property or assets of the Debtor or any other Person or Entity, after such Claims areClaim is paid in full,
such holder shall release and/or return any such property or assets to the Debtor or such other Person or
Entity.

                If on and after the date on which a holder of an Allowed Debt Claim is paid in part in
accordance with the terms of thisthe Plan, then the aggregate amount distributed to such holder from the
disposition of Chinese frozen or secured assetson account of Other Distributions will be equal to the
proceeds received from the disposition of such frozen or secured assetsOther Distributions less the partial
payments that have been made to such holder through the Trust.

        7.11    Setoffs and Recoupments.

                  (a)      Except as expressly provided in thisthe Plan, the Reorganized Debtor may,
pursuant to section 553 of the Bankruptcy Code set off and/or recoup against any Plan Distributions to be
made on account of any Allowed Claim, any and all claims, rights, and Causes of Action that such
Reorganized Debtor may hold against the holder of such Allowed Claim to the extent such setoff or
recoupment is either (i) agreed in amount among the relevant Reorganized Debtor(s) and holder of
Allowed Claim or (ii) otherwise adjudicated by the Bankruptcy Court or another court of competent
jurisdiction; provided, however, that neither the failure to effectuate a setoff or recoupment nor the
allowance of any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its
successor of any and all claims, rights, and Causes of Action that such Reorganized Debtor or its
successor may possess against the applicable holder. For the avoidance of doubt, nothing in thisthe Plan
shall affect the right of any holder of a Claim against the Debtor that is evidenced by a timely filed proof
of claim to seek an order of the Bankruptcy Court authorizing such holder to set off such Claim against
any claim, right, or Cause of Action of the Debtor that arose prior to the Petition Date.

                 (b)      In no event shall any holder of Claims against the Debtor be entitled to recoup
any such Claim against any claim, right, or Cause of Action of the Debtor or the Reorganized Debtor, as
applicable, unless such holder actually has performed such recoupment and provided notice thereof in
writing to the Debtor in accordance with Article 13.21 of the Plan on or before the Effective Date,
notwithstanding any indication in any proof of claim or otherwise that such holder asserts, has, or intends
to preserve any right of recoupment.

        7.12    Withholding and Reporting Requirements.


                                                    24
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 35 of 60


                 In connection with thisthe Plan and all Plan Distributions hereunder, the Reorganized
Debtor shall comply with all withholding and reporting requirements imposed by any federal, state, local,
or foreign taxing authority, and all Plan Distributions hereunder shall be subject to any such withholding
and reporting requirements. The Reorganized Debtor shall be authorized to take any and all actions that
may be necessary or appropriate to comply with such withholding and reporting requirements, including,
without limitation, liquidating a portion of any Plan Distribution to generate sufficient funds to pay
applicable withholding taxes or establishing any other mechanisms the Debtor or Reorganized Debtor
believe are reasonable and appropriate, including requiring a holder of a Claim to submit appropriate tax
and withholding certifications. Notwithstanding any other provisions of thisthe Plan: (a) each holder of an
Allowed Claim that is to receive a Plan Distribution shall have sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed by any governmental unit, including income,
withholding, and other tax obligations on account of such distribution; and (b) no distribution shall be
required to be made to or on behalf of such holder pursuant to thisthe Plan unless and until such holder
has made arrangements satisfactory to the Reorganized Debtor for the payment and satisfaction of such
tax obligations or has, to the Reorganized Debtor’s satisfaction, established an exemption therefrom.

        7.13    Claims Paid by Third Parties.

                (a)      Claims Paid by Third Parties. Except as otherwise provided in the Plan, the
Debtor or Reorganized Debtor, as applicable, shall reduce in full a Claim, and such Claim shall be
Disallowed without an objection having to be filed and without any further notice to, or action, order, or
approval of the Bankruptcy Court, to the extent that the holder of such Claim receives payment (before or
after the Effective Date) on account of such Claim from a party that is not the Debtor or Reorganized
Debtor. To the extent a holder of a Claim receives a distribution on account of such Claim and receives
payment from a party that is not the Debtor or Reorganized Debtor on account of such Claim, such holder
shall, within ten (10) days of receipt thereof, repay or return the distribution to the Debtor or Reorganized
Debtor, to the extent the holder’s total recovery on account of such Claim from the third party and under
the Plan exceeds the Allowed amount of such Claim as of the date of any such distribution under the Plan.
In the event such holder fails to timely repay or return such distribution, the Debtor, the Reorganized
Debtor, or the Trustee, as applicable, may pursue any rights and remedies against such holder under
applicable law.

                (b)       Applicability of Insurance Policies. Except as otherwise provided in the Plan,
distributions to holders of Allowed Claims shall be in accordance with the provisions of any applicable
insurance policy. Pursuant to section 524(e) of the Bankruptcy Code, nothing contained in thisthe Plan
shall constitute or be deemed a waiver of any Cause of Action that the Debtor, the Reorganized Debtor, or
any Entity may hold against any other Entity under any insurance policies, including against insurers, nor
shall anything contained in thisthe Plan constitute or be deemed a waiver by such insurers of any
defenses, including coverage defenses, held by such insurers.




                                                     25
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 36 of 60


                                    ARTICLE VIII
                      PROCEDURES FOR RESOLVING DISPUTED CLAIMS

        8.1     Objections to Claims; Estimation of Claims.

                 Except insofar as a Claim is Allowed under the Plan, the Debtor or the Reorganized
Debtor, as applicable, shall be entitled to object to Claims. No other Entity shall be entitled to object to
Claims after the Effective Date. Any objections to Claims shall be served and filed on or before (a) the
one-hundred eightieth (180th) day following the later of (i) the Effective Date and (ii) the date that a proof
of Claim is filed or amended or a Claim is otherwise asserted or amended in writing by or on behalf of a
holder of such Claim, or (b) such later date as may be fixed by the Bankruptcy Court.

                 The Reorganized Debtor may at any time request that the Bankruptcy Court estimate any
contingent or unliquidated Claim pursuant to section 502(c) of the Bankruptcy Code, except that the
Reorganized Debtor may not request estimation of any non-contingent or liquidated Claim if the Debtor’s
objection to such Claim was previously overruled by a Final Order, and the Bankruptcy Court shall retain
jurisdiction to estimate any Claim at any time during litigation concerning any objection to any Claim,
including, without limitation, during the pendency of any appeal relating to any such objection. In the
event that the Bankruptcy Court estimates any contingent or unliquidated Claim, the amount so estimated
shall constitute either the Allowed amount of such Claim or a maximum limitation on such Claim, as
determined by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the
amount of such Claim, the Reorganized Debtor may pursue supplementary proceedings to object to the
allowance of such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any
holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise
be entitled to seek reconsideration of such estimation unless such holder has filed a motion requesting the
right to seek such reconsideration on or before twenty-one (21) days after the date on which such Claim is
estimated. All of the aforementioned objection, estimation, and resolution procedures are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently compromised,
settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

        8.2     Payments and Distributions on Disputed Claims.

               If an objection to a Claim is filed as set forth in Article 8.1, no payment or distribution
provided under the Plan shall be made on account of such Claim unless and until such Disputed Claim
becomes an Allowed Claim.

                 At such time as a Disputed Claim becomes an Allowed Claim or as soon as practicable
thereafter, the Debtor shall distribute to the holder of such Allowed Claim the property distributable to
such holder pursuant to Article IV of the Plan; provided, however, that the timing of distributions to
holders of Claims in Class 3 shall be governed in all respects by Article 6.2 of the Plan. To the extent that
all or a portion of a Disputed Claim is Disallowed, the holder of such Claim shall not receive any
distribution on account of the portion of such Claim that is Disallowed. Notwithstanding any other
provision of the Plan, no interest shall accrue or be Allowed on any Claim during the period after the
Petition Date, except to the extent that section 506(b) of the Bankruptcy Code permits interest to accrue
and be Allowed on such Claim.

        8.3     Preservation of Claims and Rights to Settle Claims.

                 Except as otherwise provided in the Plan (including with respect to the Yidao Claims), or
in any contract, instrument, or other agreement or document entered into in connection with thisthe Plan,
in accordance with section 1123(b) of the Bankruptcy Code, the Reorganized Debtor shall retain and may
enforce, sue on, settle, compromise, otherwise resolve, discontinue, abandon, or dismiss all Claims,


                                                     26
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                     Desc
                                Main Document    Page 37 of 60


rights, Causes of Action, suits, and proceedings, including those described in the Plan Supplement
(collectively, the “Retained Actions”), whether at law or in equity, whether known or unknown, that the
Debtor or his Estate may hold against any Entity (other than Claims, rights, Causes of Action, suits, and
proceedings released pursuant to ArticleArticles 11.4 or 11.9 below), without the approval of the
Bankruptcy Court, the Confirmation Order, and any contract, instrument, release, indenture, or other
agreement entered into in connection herewith. For the avoidance of doubt, Retained Actions do not
include any Claim or Cause of Action released pursuant to ArticleArticles 11.4 andor 11.9 below. The
Reorganized Debtor or his successor(s) may pursue such Retained Actions, as appropriate, in accordance
with the best interests of the Reorganized Debtor or his successor(s) that hold such rights.

                 No Entity may rely on the absence of a specific reference in the Plan, the Plan
Supplement, or the Disclosure Statement to any Retained Action against it as any indication that the
Reorganized Debtor will not, or may not, pursue any and all available Retained Actions against it. The
Reorganized Debtor expressly reserves all rights to prosecute any and all Retained Actions against any
Entity. Unless any Retained Action against an Entity is expressly waived, relinquished, exculpated,
released, compromised, or settled in the Plan or a Bankruptcy Court order, the Reorganized Debtor
expressly reserves all Retained Actions for later adjudication, and, therefore, no preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel
(judicial, equitable, or otherwise), or laches shall apply to such Retained Action upon, after, or as
consequence of, confirmation or consummation of the Plan. For the avoidance of doubt, all Claims,
Causes of Action, suits, and proceedings of the Debtor that are not Retained Actions are waived as of the
Effective Date.

        8.4     Expenses Incurred On or After the Effective Date.

                Except as otherwise ordered by the Bankruptcy Court, and subject to the written
agreement of the Reorganized Debtor, the amount of reasonable expenses incurred by any Professional or
the Voting Agent on or after the Effective Date in connection with implementation of thisthe Plan,
including, without limitation, reconciliation of, objection to, and settlement of claims, shall be paid in
Cash by the Reorganized Debtor.

                                   ARTICLE IX
                     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        9.1     Assumption of Contracts and Leases.

                 As of and subject to the occurrence of the Effective Date and the payment of any
applicable Cure Amount, all executory contracts and unexpired leases of the Debtor shall be deemed
assumed except that: (a) any executory contracts and unexpired leases that previously have been assumed
or rejected pursuant to a Final Order of the Bankruptcy Court shall be treated as provided in such Final
Order; (b) any executory contracts and unexpired leases listed on the Schedule of Rejected Contracts and
Leases, shall be deemed rejected as of the Effective Date; and (c) all executory contracts and unexpired
leases that are the subject of a separate motion to assume or reject under section 365 of the Bankruptcy
Code pending on the Effective Date shall be treated as provided for in the Final Order resolving such
motion.

                Subject to the occurrence of the Effective Date, entry of the Confirmation Order by the
Bankruptcy Court shall constitute approval of the assumptions and rejections described in this Article 9.1
pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Each executory contract and unexpired
lease assumed pursuant to this Article 9.1 shall revest in and be fully enforceable by the applicable
Reorganized Debtor in accordance with its terms, except as modified by the provisions of the Plan, or any
order of the Bankruptcy Court authorizing and providing for its assumption, or applicable federal law.


                                                   27
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 38 of 60


The pendency of any motion to assume or reject executory contracts or unexpired leases shall not prevent
or delay implementation of the Plan or the occurrence of the Effective Date.

                 Unless otherwise provided in the Plan, each executory contract and unexpired lease that
is assumed shall include all modifications, amendments, supplements, restatements, or other agreements
that in any manner affect such executory contract or unexpired lease, including all easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any
of the foregoing agreements has been previously terminated or is otherwise not in effect. Modifications,
amendments, supplements, and restatements to prepetition executory contracts or unexpired leases that
have been executed by the Reorganized Debtor during the Chapter 11 Case shall not be deemed to alter
the prepetition nature of the executory contract or unexpired lease.

        9.2     Claims Based on Rejection of Executory Contracts or Unexpired Leases.

                 Proofs of Claim with respect to all Claims arising from the rejection of Executory
Contracts must be filed within sixty (60) days after the later of (a) the date of entry of an order of the
Bankruptcy Court approving such rejection or (b) the Confirmation Date. Any Claims not filed within
such times shall be forever barred from assertion against the Debtor, the Reorganized Debtor, the Estate,
and the property thereof. Unless otherwise ordered by the Bankruptcy Court, all such Claims shall be
allowed in accordance with provisions of the Bankruptcy Code, including section 502(b)(6), and shall,
following their allowance and payment pursuant to the terms of the Plan, be Unimpaired and be treated as
Allowed Claims in Class 3.

        9.3     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

                 (a)     Except to the extent that less favorable treatment has been agreed to by the non-
Debtor party or parties to each such executory contract or unexpired lease to be assumed pursuant to the
Plan, any monetary defaults arising under such executory contract or unexpired lease shall be satisfied,
pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the appropriate amount (the “Cure
Amount”) in full in Cash on the later of thirty (30) days after: (i) the Effective Date or (ii) the date on
which any Cure Dispute relating to such Cure Amount has been resolved (either consensually or through
judicial decision).

                (b)      No later than ten (10) calendar days prior to the commencement of the
Confirmation Hearing, the Debtor shall file a schedule (the “Cure Schedule”) setting forth the Cure
Amount, if any, for each executory contract and unexpired lease to be assumed pursuant to Article 9.1 of
the Plan, and serve such Cure Schedule on each applicable counterparty. Any party that fails to object to
the applicable Cure Amount listed on the Cure Schedule within ten (10) calendar days of the filing
thereof, shall be forever barred, estopped and enjoined from disputing the Cure Amount set forth on the
Cure Schedule (including a Cure Amount of $0.00) and/or from asserting any Claim against the Debtor or
Reorganized Debtor arising under section 365(b)(1) of the Bankruptcy Code except as set forth on the
Cure Schedule.

                (c)      In the event of a dispute (each, a “Cure Dispute”) regarding: (i) the Cure
Amount; (ii) the ability of the applicable Reorganized Debtor to provide “adequate assurance of future
performance” (within the meaning of section 365 of the Bankruptcy Code) under the contract or lease to
be assumed; or (iii) any other matter pertaining to the proposed assumption, the cure payments required
by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a Final Order resolving
such Cure Dispute and approving the assumption in accordance with Article 9.3(a). To the extent a Cure
Dispute relates solely to the Cure Amount, the Debtor may assume and/or assume and assign the
applicable contract or lease prior to the resolution of the Cure Dispute provided that the Debtor reserves



                                                     28
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                 Main Document    Page 39 of 60


Cash in an amount sufficient to pay the full amount asserted as the required cure payment by the non-
Debtor party to such contract or lease (or such smaller amount as may be fixed or estimated by the
Bankruptcy Court). To the extent the Cure Dispute is resolved or determined against the Debtor or
Reorganized Debtor, as applicable, the Debtor or Reorganized Debtor, as applicable, may reject the
applicable executory contract or unexpired lease within ten (10) Business Days after such determination
by filing and serving upon the counterparty a notice of rejection, and the counterparty may thereafter file
a proof of claim in the manner set forth in Article 9.2 hereof.

        9.4       Insurance Policies. All insurance policies pursuant to which the Debtor has any
obligations in effect as of the Effective Date shall be deemed and treated as executory contracts pursuant
to the Plan and shall be assumed by the Debtor (and assigned to the Reorganized Debtor if necessary to
continue such insurance policies in full force) pursuant to section 365 of the Bankruptcy Code and shall
continue in full force and effect.

        9.5     Reservation of Rights.

                 Neither the exclusion nor inclusion of any contract or lease on any exhibit to the Plan
Supplement, nor anything contained in the Plan, shall constitute an admission by the Debtor that any
agreement, contract, or lease is an executory contract or unexpired lease subject to Article IX of the Plan,
as applicable, or that the Debtor or Reorganized Debtor has any liability thereunder.

                 The Debtor and Reorganized Debtor, as applicable, reserve the right to alter, amend,
modify, or supplement the Schedule of Rejected Contracts and Leases until and including the Effective
Date or as otherwise provided by Bankruptcy Court order; provided, however, that if there is a dispute
regarding whether a contract or lease is or was executory or unexpired at the time of assumption,
assumption and assignment, or with respect to the asserted Cure Amount, then the Reorganized Debtor
shall have thirty (30) days following entry of a Final Order resolving such dispute to amend the decision
to assume, or assume and assign, such executory contract or unexpired lease.

        9.6     Pre-existing Obligations to Debtor Under Executory Contracts and Unexpired Leases

                 Rejection of any executory contract or unexpired lease pursuant to the Plan or otherwise
shall not constitute a termination of pre-existing obligations owed to the Debtor under such contracts or
leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the Reorganized Debtor
expressly reserves and does not waive any right to receive, or any continuing obligation of a counterparty
to provide, warranties or continued maintenance obligations on goods previously purchased by the Debtor
contracting from non-Debtor counterparties to rejected executory contracts or unexpired leases.

        9.7     Contracts and Leases Entered into After the Petition Date.

                Contracts and leases entered into after the Petition Date by the Debtor in the ordinary
course of business or following approval pursuant to a Bankruptcy Court order, including any executory
contracts and unexpired leases assumed by the Debtor, shall be performed by the Debtor or Reorganized
Debtor, as the case may be, in the ordinary course of business. Accordingly, such contracts and leases
(including any assumed executory contracts and unexpired leases) shall survive and remain unaffected by
entry of the Confirmation Order.




                                                    29
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 40 of 60


                                ARTICLE X
       CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE DATE

        10.1    Conditions Precedent to Confirmation.

                 It shall be a condition to confirmation of thisthe Plan that the following conditions shall
have been satisfied in full or waived in accordance with Article 10.3 of the Plan:

                (a)    The Disclosure Statement shall have been approved by the Bankruptcy Court as
having adequate information in accordance with section 1125 of the Bankruptcy Code; and

                (b)      The Confirmation Order shall have been entered on the docket for the Chapter 11
Case and be in full force and effect.

        10.2    Conditions Precedent to the Effective Date.

                 The Effective Date shall not occur and the Plan shall not become effective unless and
until the following conditions have been satisfied in full or waived in accordance Article 10.3 of the Plan:

                (a)      The Confirmation Order shall have become a Final Order in full force and effect;

                (b)      The Discharge Date shall have occurred;

                 (c)     (b) The documents comprising the Plan Supplement, including the Trust
Agreement, shall, to the extent applicable, have been executed and delivered, and any conditions (other
than the occurrence of the Effective Date or certification that the Effective Date has occurred) contained
therein shall have been satisfied or waived in accordance therewith;

                 (d)      (c) All necessary actions, consents, documents, certificates, and agreements
necessary to implement the Plan on the Effective Date, including any consents of Pacific Technology and
its managing member, shall have been effected or executed and delivered to the required parties and, to
the extent required, filed with the applicable governmental units in accordance with applicable laws; and

                 (e)     (d) All applicable governmental authorities shall have granted any necessary
consents and approvals required for the Debtor to emerge from chapter 11 pursuant to the Plan and any
statutory waiting periods shall have expired.

        10.3    Waiver of Conditions Precedent.

               Each of the conditions precedent in Articles 10.1 and 10.2 of the Plan may be waived, in
whole or in part, by the Debtor in writing, without notice to any other third parties or order of the
Bankruptcy Court or any other formal action.

        10.4    Effect of Non-Occurrence of the Effective Date.

                If the conditions listed in Articles 10.1 and 10.2 are not satisfied or waived in accordance
with Article 10.3, then (a) the Confirmation Order shall be of no further force or effect; (b) the Plan shall
be null and void in all respects; (c) no distributions under the Plan shall be made; (d) no executory
contracts or unexpired leases that were not previously assumed, assumed and assigned, or rejected shall
be deemed assumed, assumed and assigned, or rejected by operation of the Plan; (e) the Debtor and all
holders of Claims shall be restored to the status quo ante as of the day immediately preceding the
Confirmation Date; and (f) nothing contained in the Plan or the Disclosure Statement shall (i) be deemed


                                                     30
Case 2:19-bk-24804-VZ             Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                         Desc
                                   Main Document    Page 41 of 60


to constitute a waiver or release of (x) any Claims by any creditor oragainst the Debtor or (y) any Claims
against theclaims belonging to the Debtor, (ii) prejudice in any manner the rights of the Debtor or any
other Entity, or (iii) constitute an admission, acknowledgment, offer, or undertaking by the Debtor in any
respect.

                                            ARTICLE XI
                                      EFFECT OF CONFIRMATION

        11.1     Vesting of Assets.

                Except as otherwise provided in the Plan, as of the Effective Date, all property of the
Estate, and any property acquired by the Debtor or Reorganized Debtor under the Plan, shall vest in the
Reorganized Debtor, free and clear of all Claims, liens, charges, other encumbrances and interests. On
and after the Effective Date, the Debtor may use, acquire, and dispose of property and compromise or
settle any Claims without supervision or approval by the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the Plan
and the Confirmation Order.

        11.2     Binding Effect.

                  Subject to the occurrence of the Effective Date and notwithstanding Bankruptcy Rules
3020(e), 6004(h), or 7062, on and after the Confirmation Date, the provisions of the Plan shall be
immediately effective and enforceable and deemed binding upon any holder of a Claim against the
Debtor, and such holder’s respective successors and assigns, (whether or not the Claim of such holder is
Impaired under the Plan, whether or not such holder has accepted the Plan, and whether or not such
holder is entitled to a distribution under the Plan), all Entities that are party, or subject, to the settlements,
compromises, releases, discharges, and injunctions described in the Plan, each Entity acquiring property
under the Plan, and any and all non-Debtor counterparties to executory contracts, unexpired leases, and
any other prepetition agreements. All Claims shall be as fixed, adjusted, or compromised, as applicable,
pursuant to the Plan regardless of whether any holder of a Claim or debt has voted on the Plan.

        11.3     Discharge of Claims.

                Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan, the distributions, rights, and treatment that are provided in the
Plan will be in exchange for, and in complete satisfaction, settlement, discharge, and release of, all
Claims against the Debtor of any nature whatsoever, whether known or unknown, or against the
assets or properties of the Debtor that arose before the Effective Date. Except as expressly provided
in the Plan, on the Discharge Date (and subject to its occurrence), and pursuant to section
1141(d)(5)(B) of the Bankruptcy Code, entry of the Confirmation Order shall be deemed to act as a
discharge and release under section 1141(d)(1)(A) of the Bankruptcy Code of all Claims against the
Debtor and his assets, arising at any time before the Effective Date, regardless of whether a proof of
Claim was filed, whether the Claim is Allowed, or whether the holder of the Claim votes to accept
the Plan or is entitled to receive a distribution under the Plan; provided, however, that in no event
shall occurrence of the Discharge Date discharge the Debtor from any obligations remaining under
the Plan as of the Discharge Date. Any default by the Debtor with respect to any Claim that existed
immediately prior to or on account of the filing of the Chapter 11 Case shall be deemed cured on
the Discharge Date.

               No later than five (5) business days after the occurrence of the Discharge Date, the
Debtor or Reorganized Debtor, as applicable, shall file with the Bankruptcy Court a notice of the
occurrence of the Discharge Date, and serve such notice on all creditors. In addition, following the


                                                       31
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                   Desc
                                Main Document    Page 42 of 60


occurrence of the Discharge Date, the Debtor or Reorganized Debtor, as applicable, shall file a
motion seeking entry of an order of discharge after notice and a hearing, which motion (and the
discharge) shall be granted upon a showing that the Debtor has made all payments required under
the Plan. Except as expressly provided in the Plan, any holder of a discharged Claim will be
precluded from asserting against the Debtor or any of his assets any other or further Claim based
on any document, instrument, act, omission, transaction, or other activity of any kind or nature
that occurred before the Effective Date. Except as expressly provided in the Plan, and subject to the
occurrence of the Discharge Datepursuant to section 1141(d)(5)(B), the Confirmation Order will be
a judicial determination of discharge of all liabilities of the Debtor to the extent allowed under
section 1141 of the Bankruptcy Code, and the Debtor will not be liable for any Claims and will only
have the obligations that are specifically provided for in the Plan. Notwithstanding the foregoing,
nothing contained in the Plan or the Confirmation Order shall discharge the Debtor from any debt
excepted from discharge under section 523 of the Bankruptcy Code by a Final Order.

        11.4    Releases.

                  (a)     Releases by the Debtor. Upon the Effective Date, for good and valuable
consideration, the adequacy of which is hereby confirmed, the Debtor, in his individual capacity
and as debtor in possession, shall be deemed forever to release, waive, and discharge (x) the Estate;
(y) all Persons engaged or retained by the Debtor in connection with the Chapter 11 Case
(including in connection with the preparation of and analyses relating to the Disclosure Statement
and the Plan); and (z) any and all advisors, attorneys, actuaries, financial advisors, accountants,
investment bankers, agents, professionals, and representatives of each of the foregoing Persons and
Entities (whether current or former, in each case in his, her, or its capacity as such), from any and
all claims, obligations, suits, judgments, damages, demands, debts, rights, remedies, actions, Causes
of Action, and liabilities, whether for tort, fraud, contract, recharacterization, subordination,
violations of federal or state securities laws (other than the rights of the Debtor or Reorganized
Debtor to enforce the terms of the Plan and the contracts, instruments, releases, and other
agreements or documents delivered in connection with the Plan), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, then-existing or thereafter arising, at law, in equity, or otherwise, based in whole or in
part on any act, omission, transaction, event or other occurrence, or circumstances taking place on
or before the Effective Date, in any way relating to (i) the Debtor or the Chapter 11 Case; (ii) any
action or omission of any Released Party with respect to any indebtedness under which the Debtor
is or was a borrower or guarantor; (iii) any Released Party in any such Released Party’s capacity as
an employee, or agent of, or advisor to, the Debtor; (iv) the subject matter of, or the transactions or
events giving rise to, any Claim that is treated in the Plan; (v) the business or contractual
arrangements between the Debtor and any Released Party; (vi) the restructuring of Claims before
or during the Chapter 11 Case; and (vii) the negotiation, formulation, preparation, or
dissemination of the Plan (including, for the avoidance of doubt, the Plan Supplement), the
Disclosure Statement, or related agreements, instruments, or other documents, other than claims or
liabilities arising out of or relating to any act or omission of a Released Party that is determined by
a Final Order to have constituted willful misconduct, fraud, or gross negligence. The Reorganized
Debtor shall be bound, to the same extent the Debtor is bound, by the releases and discharges set
forth above.

               Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(a) by the Debtor,
which includes by reference each of the related provisions and definitions contained in thisthe Plan,
and further, shall constitute its finding that each release described in this Article 11.4(a) is: (i) in
exchange for the good and valuable consideration provided by the Released Parties, a good faith


                                                  32
Case 2:19-bk-24804-VZ         Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                  Desc
                               Main Document    Page 43 of 60


settlement and compromise of such Claimsclaims; (ii) in the best interests of the Debtor and all
holders of Claims; (iii) fair, equitable, and reasonable; (iv) given and made after due notice and
opportunity for hearing; and (v) a bar to any of the Releasing Parties asserting any Claimclaim,
Cause of Action, or liability related thereto, of any kind whatsoever, against any of the Released
Parties or their property.

                (b)     Releases by Holders of Non-Debt Claims and Other Entities. Upon. On the
Effective Date, to the maximum extent permitted by applicable law, each Releasing Party, in
consideration for the obligations of the Debtor and the Reorganized Debtor under the Plan, and the
Trust Interests and Cash and other contracts, instruments, releases, agreements, or documents to
be delivered in connection with the Plan, shall be deemed forever to release, waive, and discharge
the Released Parties from personal liability in every jurisdiction from any and all Claimsclaims,
obligations, suits, judgments, damages, demands, debts, rights, remedies, actions, Causes of Action,
and liabilities whatsoever, including any derivative Claims asserted or assertable on behalf of the
Debtor, whether for tort, fraud, contract, recharacterization, subordination, violations of federal or
state securities laws or laws of any other jurisdiction or otherwise, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, then-existing or thereafter arising, at law, in equity, or otherwise, based in whole or in
part on any act, omission, transaction, event, or other occurrence, or circumstances taking place on
or before the Effective Date, in any way relating to (i) the Debtor or the Chapter 11 Case; (ii) any
action or omission of any Released Party with respect to any indebtedness under which the Debtor
is or was a borrower or guarantor; (iii) any Released Party in any such Released Party’s capacity as
an employee, agent of, or advisor to, the Debtor; (iv) the subject matter of, or the transactions or
events giving rise to, any Claim that is treated in the Plan; (v) the business or contractual
arrangements between the Debtor and any Released Party; (vi) the restructuring of Claims before
or during the Chapter 11 Case and the solicitation of votes with respect to the Plan; and (vii) the
negotiation, formulation, preparation, entry into, or dissemination of the Plan (including, for the
avoidance of doubt, the Plan Supplement and all documents contained or referred to therein), the
Disclosure Statement, or related agreements, instruments, or other documents; provided, however,
that the Releasing Parties shall continue to dispose of the following assets through judicial
authorities in the People’s Republic of China to satisfy such Releasing Party’s Claim through a
mechanism that will be mutually agreed to by the parties: (x) assets that have already been
collateralized by the Debtor or any other Person or Entity; (y) assets that have already been
pledged by the Debtor or any other Person or Entity; and (z) assets or interests that the Debtor, his
wife Wei Gan, or any other Person or Entity own that have been seized, attached, or frozen by
Chinese judiciary authorities. Notwithstanding anything contained herein to the contrary, the
foregoing release does not release any obligations of any party under the Plan or any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
the Plan.

               In connection with the releases described in this Article 11.4(b), each Releasing
Party shall waive all rights conferred by the provisions of section 1542 of the California Civil Code
and/or any similar state or federal law. Section 1542 of the California Civil Code provides as
follows: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE
TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”

               Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(b), which includes
by reference each of the related provisions and definitions contained in the Plan, and further, shall


                                                 33
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                   Desc
                                Main Document    Page 44 of 60


constitute its finding that each release described in Article 11.4(b) is: (i) in exchange for the good
and valuable consideration provided by the Released Parties, a good faith settlement and
compromise of such claims; (ii) in the best interests of the Debtor and all holders of Claims;
(iii) fair, equitable, and reasonable; (iv) given and made after due notice and opportunity for
hearing; and (v) a bar to any of the Releasing Parties asserting any claim, Cause of Action, or
liability related thereto, of any kind whatsoever, against any of the Released Parties or their
property.

                 (c)     Standstill and Releases by Holders of Allowed Debt Claims and Allowed
Late Filed Debt Claims. To the maximum extent permitted by applicable law, each holder of an
Allowed Debt Claim shall agree for a period of four (4) years after the Effective Date (the
“Standstill Period”) to not assert any new Causes of Action against the Debtor for personal liability
or derivatively in its capacity as a creditor of a claim owed solely or jointly by the Debtor (including
unwinding or alter ego type claims) in any non-U.S. jurisdiction (the “YT Claims”); provided,
however, that such holder may continue to prosecute any actions commenced prepetition against
the Debtor up to judgment and pursue Other Distributions through judicial authorities in the PRC
to satisfy such holder’s Debt Claim through a mechanism that will be mutually agreed to by the
parties, including claims against (i) primary obligors based on such holder’s contractual
agreements with such primary obligors; (ii) assets that have already been collateralized by the
Debtor or any other Person or Entity; (iii) assets that have already been pledged by the Debtor or
any other Person or Entity; or (iv) assets or interests that the Debtor, Wei Gan, or any other Person
or Entity own, and that have been seized, attached, or frozen by Chinese judiciary authorities;
provided, however, that the Standstill Period shall terminate in the event a Liquidation Event occurs
during the Standstill Period. All limitations periods applicable to all YT Claims in any non-U.S.
jurisdictions, to the extent not previously expired, shall be tolled for the duration of the Standstill
Period.

               Within ninety (90) days after the Effective Date, each holder of an Allowed Debt
Claim or Allowed Late Filed Debt Claim shall take the steps and provide the documents described
in the Trust Agreement to (i) notify the applicable court or courts in the PRC (the “Chinese
Court”) that the Debtor and such holder have reached a settlement agreement that is embodied in
and has been implemented through the Plan and (ii) request that the Chinese Court remove the
Debtor from the List of Dishonest Judgment Debtors (the “China Debtor List”) and lift any
consumption or travel restrictions (the “China Restrictions”), as applicable, and shall refrain from
taking any action during the Standstill Period to cause the Debtor to be reinstated on the China
Debtor List or be subject to the China Restrictions (the “China Debtor List Covenant”).

                  Before any Trust Distributions are made to the holder of an Allowed Debt Claim or
an Allowed Late Filed Debt Claim, such holder shall provide an affidavit that (i) certifies such
holder’s compliance with the China Debtor List Covenant, (ii) certifies that they have not initiated
any YT Claims during the Standstill Period or after the Liability Release Date, as applicable, and
(iii) identifies any amounts received from Other Distributions as of the date of the affidavit.

                Each holder of an (i) Allowed Late Filed Debt Claim, on the date of allowance of
such Late Filed Debt Claim or (ii) Allowed Debt Claim, once it has received Trust Distributions and
Other Distributions (from enforcement or other actions) that, in the aggregate, are equal to 20% of
its Allowed Debt Claim Allocation Amount (the date upon which the foregoing condition occurs is
the “Liability Release Date”) (x) shall be deemed to have released the YT Claims on account of such
Debt Claim or Late Filed Debt Claim in every jurisdiction and (y) agrees that it shall not assert any
new, or continue to prosecute any existing, YT Claims related to such Debt Claim or Late Filed
Debt Claim in every jurisdiction; provided, however, that the foregoing release shall not release,



                                                  34
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                   Desc
                                Main Document    Page 45 of 60


waive, or otherwise impact the rights of such holder to receive further Trust Distributions or to
pursue and receive Other Distributions through a mechanism that will be mutually agreed to by the
parties.

                Within thirtyninety (3090) days of the Effective Dateafter the applicable Liability
Release Date with respect to Allowed Debt Claims or the date of allowance of a Late Filed Debt
Claim, each holder of aan Allowed Debt Claim is obligated toor Allowed Late Filed Debt Claim
shall (as a condition to receiving further Trust Distributions) (i) withdraw or retract any litigations,
enforcement actions, arbitrations, and any other proceedings against the Debtor and his wife Wei
Gan from the court orcourts and judicial authorities in all jurisdictions, including, but not limited
to, the People’s Republic of China, or commit orPRC, or confirm with the judicial authorities that
the Debtor or his wife Wei Gan have fulfilled all theirhas settled all of his debt obligations or legal
responsibilities to such holder and (ii) file and execute any documents requested by the Debtor to
evidence the above release. Unless and until a holder of a Debt Claim complies with the preceding
sentence and all of their obligations under the Trust Agreement, such holder shall not be entitled to
exercise any rights with respect to the Trust or receive any distributions from the Trust; provided,
however, that theThe Debtor reserves all rights to seek enforcement by the Chinese judicial
authorities of the rights provided herein, and the Chinese judicial authorities shall have jurisdiction
to enforce such rights.

               In connection with the releases described in this Article 11.4(c), each holder of an
Allowed Debt Claim or Allowed Late Filed Debt Claim shall waive all rights conferred by the
provisions of section 1542 of the California Civil Code and/or any similar state or federal law.
Section 1542 of the California Civil Code provides as follows: “A GENERAL RELEASE DOES
NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
SETTLEMENT WITH THE DEBTOR.”

                 Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(c), which includes
by reference each of the related provisions and definitions contained in the Plan, and further, shall
constitute its finding that each release described in Article 11.4(c) is: (i) in exchange for the good
and valuable consideration provided by the Debtor and Reorganized Debtor, a good faith
settlement and compromise of such claims; (ii) in the best interests of the Debtor and all holders of
Claims; (iii) fair, equitable, and reasonable; (iv) given and made after due notice and opportunity
for hearing; and (v) except as otherwise provided in the Plan, a bar to any holder of an Allowed
Debt Claim or Allowed Late Filed Debt Claim asserting any Claim, Cause of Action, or liability
related thereto, of any kind whatsoever, against the Debtor or Reorganized Debtor.




                                                  35
Case 2:19-bk-24804-VZ         Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                   Desc
                               Main Document    Page 46 of 60



               (d)     Releases of Key China Business Individuals.

                On the effective date of any settlement agreement under Bankruptcy Rule 9019
(a “KCBI Settlement”) between a Key China Business Individual and a holder(s) of an Allowed
Debt Claim that holds a guarantee from such Key China Business Individual (a “KCBI Releasing
Party”), each KCBI Releasing Party shall be (i) deemed to have released the applicable Key China
Business Individual for personal liability on account of such KCBI Releasing Party’s Debt Claim in
every jurisdiction and (ii) agrees that it shall not assert any new (including through the amendment
of an existing action), or continue to prosecute any existing, Causes of Action related to such Debt
Claim against the applicable Key China Business Individual for personal liability or derivatively in
its capacity as a creditor of such Key China Business Individual in every jurisdiction. The
consideration for such KCBI Settlement shall be administered by the Trust.

                Within ninety (90) days after the effective date of a KCBI Settlement, each KCBI
Releasing Party shall (i) take the steps and provide the documents described in the Trust
Agreement to (x) notify the applicable Chinese Courts that the applicable Key China Business
Individual and such holder have reached a settlement agreement that is embodied in and has been
implemented through the Plan and (y) request that the Chinese Court remove the applicable Key
China Business Individual from the China Debtor List and lift any China Restrictions, as
applicable, and shall refrain from taking any action to cause the applicable Key China Business
Individual to be reinstated on the China Debtor List or be subject to the China Restrictions and
(ii) (x) withdraw or retract any litigations, enforcement actions, arbitrations, and any other
proceedings against the applicable Key China Business Individual from the courts and judicial
authorities in all jurisdictions, including, but not limited to, the PRC, or confirm with the judicial
authorities that the applicable Key China Business Individual has settled all of their debt
obligations or legal responsibilities to such KCBI Releasing party and (y) file and execute any
documents requested by the Key China Business Individual to evidence the above release.

                In connection with the releases described in this Article 11.4(bd), each KCBI
Releasing Party shall waive all rights conferred by the provisions of section 1542 of the California
Civil Code and/or any similar state or federal law. Section 1542 of the California Civil Code
provides as follows: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE
TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”

                 EntrySubject to the approval of the KCBI Settlement by the Bankruptcy Court,
entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in this Article 11.4(bd), which includes by
reference each of the related provisions and definitions contained in thisthe Plan, and further, shall
constitute its finding that each release described in Article 11.4(bd) is: (i) in exchange for the good
and valuable consideration provided by the Released PartiesKey China Business Individual, a good
faith settlement and compromise of such Claimsclaims; (ii) in the best interests of the Debtor and
all holders of Claims; (iii) fair, equitable, and reasonable; (iv) given and made after due notice and
opportunity for hearing; and (v) except as otherwise provided in the Plan, a bar to any of theKCBI
Releasing PartiesParty asserting any Claim, Cause of Action, or liability related thereto, of any
kind whatsoever, against any of the Released Parties or their propertythe Key China Business
Individual.




                                                  36
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                   Desc
                                Main Document    Page 47 of 60



               (e)      Release of Wei Gan.

                 On the effective date of any settlement agreement under Bankruptcy Rule 9019
(a “WG Settlement”) regarding the Debtor’s claims against Wei Gan and Wei Gan’s Claims
against the Debtor, each holder of an Allowed Debt Claim shall be (i) deemed to have released Wei
Gan for personal liability on account of such holder’s Debt Claim in every jurisdiction and
(ii) agrees that it shall not assert any new (including through the amendment of an existing action),
or continue to prosecute any existing, Causes of Action related to such Debt Claim against Wei Gan
for personal liability or derivatively in its capacity as a creditor of Wei Gan in every jurisdiction.
The consideration for the WG Settlement shall be administered by the Trust.

                Within ninety (90) days after the effective date of the WG Settlement, each holder of
an Allowed Debt Claim shall (i) take the steps and provide the documents described in the Trust
Agreement to (x) notify the applicable Chinese Courts that Wei Gan and such holder have reached
a settlement agreement that is embodied in and has been implemented through the Plan and
(y) request that the Chinese Court remove Wei Gan from the China Debtor List and lift any China
Restrictions, as applicable, and shall refrain from taking any action to cause Wei Gan to be
reinstated on the China Debtor List or be subject to the China Restrictions and (ii) (x) withdraw or
retract any litigations, enforcement actions, arbitrations, and any other proceedings against Wei
Gan from the courts and judicial authorities in all jurisdictions, including, but not limited to, the
PRC, or confirm with the judicial authorities that Wei Gan has settled all of her debt obligations or
legal responsibilities to such holder and (y) file and execute any documents requested by Wei Gan
to evidence the above release.

               In connection with the releases described in this Article 11.4(e), each holder of an
Allowed Debt Claim shall waive all rights conferred by the provisions of section 1542 of the
California Civil Code and/or any similar state or federal law. Section 1542 of the California Civil
Code provides as follows: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”

                 Subject to the approval of the WG Settlement by the Bankruptcy Court, entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy
Rule 9019, of the releases described in this Article 11.4(e), which includes by reference each of the
related provisions and definitions contained in the Plan, and further, shall constitute its finding that
each release described in Article 11.4(e) is: (i) in exchange for the good and valuable consideration
provided by Wei Gan, a good faith settlement and compromise of such claims; (ii) in the best
interests of the Debtor and all holders of Claims; (iii) fair, equitable, and reasonable; (iv) given and
made after due notice and opportunity for hearing; and (v) except as otherwise provided in the
Plan, a bar to any holder of an Allowed Debt Claim asserting any Claim, Cause of Action, or
liability related thereto, of any kind whatsoever, against Wei Gan.

       11.5     Exculpation and Limitation of Liability.

                None of the Debtor or Reorganized Debtor, or the direct or indirect affiliates,
employees, advisors, attorneys, financial advisors, accountants, investment bankers, agents, or
other professionals (whether current or former, in each case, in his, her, or its capacity as such) of
the Debtor or the Reorganized Debtor, or the Released Parties shall have or incur any liability to,
or be subject to any right of action by, any holder of a Claim, or any other party in interest in the
Chapter 11 Case, or any of their respective agents, employees, representatives, financial advisors,



                                                  37
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                    Desc
                                Main Document    Page 48 of 60


attorneys or agents acting in such capacity, or direct or indirect affiliates, or any of their successors
or assigns, for any act or omission in connection with, relating to, or arising out of, the Chapter 11
Case, formulation, negotiation, preparation, dissemination, confirmation, solicitation,
implementation, or administration of the Plan, the Plan Supplement and all documents contained
or referred to therein, the Disclosure Statement, any contract, instrument, release or other
agreement or document created or entered into in connection with the Plan, or any other pre- or
postpetition act taken or omitted to be taken in connection with or in contemplation of the
restructuring of the Debtor or confirming or consummating the Plan (including the distribution of
any property under the Plan); provided, however, that the foregoing provisions of this Article 11.5
shall have no effect on the liability of any Person or Entity that results from any such act or
omission that is determined by a Final Order to have constituted willful misconduct, fraud, or gross
negligence and shall not impact the right of any holder of a Claim, or any other party to enforce the
terms of the Plan and the contracts, instruments, releases, and other agreements or documents
delivered in connection with the Plan. Without limiting the generality of the foregoing, the Debtor
and the Debtor’s direct or indirect affiliates, employees, advisors, attorneys, financial advisors,
accountants, investment bankers, agents and other professionals (whether current or former, in
each case, in his, her, or its capacity as such) shall, in all respects, be entitled to reasonably rely
upon the advice of counsel with respect to their duties and responsibilities under the Plan. The
exculpated parties have participated in good faith and in compliance with the applicable provisions
of the Bankruptcy Code with regard to the solicitation and distribution of the securities pursuant to
the Plan, and, therefore, are not, and on account of such distributions shall not be, liable at any
time for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan. This
exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
exculpations, and any other applicable law or rules protecting such exculpating parties from
liability.

        11.6    Injunction.

                (a)     General. All Persons or Entities who have held, hold, or may hold Claims
(other than Claims that are reinstated under the Plan), and all other parties in interest in the
Chapter 11 Case, along with their respective current and former employees, agents, officers,
directors, principals, and direct and indirect affiliates, are permanently enjoined, from and after
the Effective Date, from, in respect of any Claim or Cause of Action released or settled hereunder,
(i) commencing, conducting, or continuing in any manner, directly or indirectly, any suit, action, or
other proceeding of any kind (including, without limitation, any proceeding in a judicial, arbitral,
administrative, or other forum) against the Released Parties, the Key China Business Individuals,
Wei Gan, the Debtor, or the Reorganized Debtor, or in respect of any Claim or Cause of Action
released or settled hereunder; (ii) enforcing, levying, attaching, collecting, or otherwise recovering
by any manner or means, whether directly or indirectly, of any judgment, award, decree, or order
against the Released Parties, the Key China Business Individuals, Wei Gan, the Debtor, or the
Reorganized Debtor; (iii) creating, perfecting, or enforcing in any manner, directly or indirectly,
any encumbrance of any kind against the Released Parties, the Key China Business Individuals,
Wei Gan, the Debtor, or the Reorganized Debtor; (iv) asserting any right of setoff, subrogation, or
recoupment of any kind, against any obligation due from the Released Parties, the Key China
Business Individuals, Wei Gan, the Debtor, or the Reorganized Debtor, or against the property or
interests in property of the Debtor or Reorganized Debtor, on account of such Claims; or
(v) commencing or continuing in any manner any action or other proceeding of any kind on
account of, in connection with, or with respect to any such Claims released or settled pursuant to
the Plan; provided, however, that nothing contained herein shall preclude such Entities from
exercising their rights pursuant to and consistent with the terms hereofof the Plan and the


                                                   38
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 49 of 60


contracts, instruments, releases, and other agreements and documents delivered under or in
connection with the Plan.

                (b)      Injunction Against Interference With the Plan. Upon entry of the
Confirmation Order, all holders of Claims and their respective current and former employees,
agents, officers, directors, principals, and direct and indirect affiliates shall be enjoined from taking
any actions to interfere with the implementation or consummation of the Plan. Each holder of an
Allowed Claim, by accepting, or being eligible to accept, distributions under or reinstatement of
such Claim, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction
provisions set forth in this Article 11.6 of the Plan.

        11.7    Term of Bankruptcy Injunction or Stays.

                 All injunctions or stays (excluding any injunctions or stays contained in the Plan or the
Confirmation Order) in effect in the Chapter 11 Case under sections 105 or 362 of the Bankruptcy Code,
or any order of the Bankruptcy Court or otherwise, and in existence as of the Confirmation Date, shall
remain in full force and effect until the Effective Date.

        11.8    Termination of Subordination Rights and Settlement of Related Claims.

                 The classification and manner of satisfying all Claims under the Plan takes into
consideration all subordination rights, whether arising by contract or under general principles of equitable
subordination, section 510 of the Bankruptcy Code, or otherwise. All subordination rights that a holder of
a Claim may have with respect to any distribution to be made under the Plan, shall be discharged and
terminated, and all actions related to the enforcement of such subordination rights shall be enjoined
permanently. Accordingly, distributions under the Plan to holders of Allowed Claims shall not be subject
to payment of a beneficiary of such terminated subordination rights, or to levy, garnishment, attachment,
or other legal process by a beneficiary of such terminated subordination rights.

        11.9    Waiver of Actions Arising Under Chapter 5 of the Bankruptcy Code.

                 Without limiting any other applicable provisions of, or releases contained in, thisthe Plan,
each of the Debtor, the Reorganized Debtor, their respective successors, assigns, and representatives, and
any and all other entities who may purport to assert any Claimclaim or Cause of Action, directly or
derivatively, by, through, for, or because of the foregoing entities, hereby irrevocably and unconditionally
release, waive, and discharge any and all Claimsclaims or Causes of Action that they have, had or may
have that are based on section 544, 547, 548, 549, and 550 of the Bankruptcy Code and analogous non-
bankruptcy law for all purposes; provided, however, that notwithstanding this or any other provision of
the Plan, the Debtor and Reorganized Debtor, as the case may be, retain all such Claims or Causes of
Action against any holder of a putative U.S. Secured Claimin the event that the Trustee has determined
that it has reasonable and good-faith evidence that an asset of the Debtor located in the United States that
was property of the Debtor as of the commencement of the Chapter 11 Case and was not disclosed during
the Chapter 11 Case, if any, the Trustee may, after a meet and confer with the Debtor, pursue an action for
turnover of such asset under section 542 of the Bankruptcy Code within one hundred and eighty (180)
days of the Effective Date; provided that such turnover action may be pursued only through a confidential
arbitration process conducted by an arbitrator to be designated in the Trust Agreement. For the avoidance
of doubt, none of the Claims or Causes of Action referenced in this Article 11.9, except as excluded
herein, shall constitute Retained Actions.




                                                     39
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                Main Document    Page 50 of 60


        11.10    Reservation of Rights.

                The Plan shall have no force or effect unless and until the Effective Date. Prior to the
Effective Date, none of the filing of the Plan, any statement or provision contained in the Plan, or action
taken by the Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be,
or shall be deemed to be, an admission or waiver of any rights of the Debtor or any other party, including
the Released Parties, with respect to any Claims or any other matter.

                                         ARTICLE XII
                                  RETENTION OF JURISDICTION

                 Pursuant to sections 105(c) and 1142 of the Bankruptcy Code, to the fullest extent
permitted by law, and notwithstanding the entry of the Confirmation Order or the occurrence of the
Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over any matter arising under the
Bankruptcy Code, arising in or out of, or related to, the Chapter 11 Case, the Plan, or the Confirmation
Order (except as provided in the Trust Agreement), including jurisdiction to:

                (a)    Allow, disallow, determine, liquidate, classify, estimate, or establish the priority
or secured or unsecured status of any Claim, including the resolution of any request for payment of any
Administrative Expense Claim and the resolution of any and all objections to the allowance or priority of
Claims;

                (b)     Resolve any matters related to the assumption, assumption and assignment, or
rejection of any executory contract or unexpired lease to which the Debtor is party to or with respect to
which the Debtor or Reorganized Debtor may be liable, and hear, determine, and, if necessary, liquidate,
any Claims arising therefrom;

                 (c)      Determine any and all motions, adversary proceedings, applications, contested
matters, or other litigated matters pending on the Effective Date;

                 (d)     Ensure that Plan Distributions to holders of Allowed Claims are accomplished
pursuant to the terms of the Plan;

                (e)     Adjudicate any and all disputes arising from or relating to Plan Distributions;

                (f)     Enter, implement, or enforce such orders as may be necessary or appropriate to
implement or consummate the provisions of the Plan, and all contracts, instruments, releases, settlements
(including any KCBI Settlements or the WG Settlement) and other agreements or documents created in
connection with the Plan or the Confirmation Order;

                 (g)     Enter, implement, or enforce such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated, or distributions
pursuant to the Plan are enjoined or stayed;

               (h)      Issue injunctions, enter and implement other orders, and take such other actions
as may be necessary or appropriate to restrain interference by any Entity with the consummation,
implementation, or enforcement of the Plan, the Confirmation Order, or any other order of the Bankruptcy
Court;

               (i)   Modify the Plan before or after the Effective Date under section 1127 of the
Bankruptcy Code or modify the Confirmation Order, or any contract, instrument, release, or other
agreement or document created in connection with the Plan or the Confirmation Order, or remedy any


                                                    40
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                     Desc
                                 Main Document    Page 51 of 60


defect or omission or reconcile any inconsistency in any Bankruptcy Court order, the Plan, the Disclosure
Statement, the Confirmation Order, or any contract, instrument, release, or other agreement or document
created in connection with the Plan or the Confirmation Order, in such manner as may be necessary or
appropriate to consummate the Plan;

               (j)     Hear and determine all applications for compensation and reimbursement of
expenses of Professionals under sections 330, 331, and 503(b) of the Bankruptcy Code incurred prior to
the Confirmation Date;

                  (k)     Hear and determine any rights, Claims, or Causes of Action held or reserved by,
or accruing to, the Debtor or the Reorganized Debtor pursuant to the Bankruptcy Code, the Confirmation
Order, or, in the case of the Debtor, any other applicable law;

                (l)     Enforce all orders, judgments, injunctions,              releases,   exculpations,
indemnifications, and rulings entered in connection with the Chapter 11 Case;

                 (m)     Hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan, the Confirmation Order, any transactions contemplated
thereby, or any agreement, instrument, or other document governing or relating to any of the foregoing, or
the effect of the Plan under any agreement to which the Debtor, the Reorganized Debtor, or any affiliate
thereof are party;

                 (n)    Hear and determine any issue for which the Plan or a related document requires a
Final Order of the Bankruptcy Court;

                (o)      Issue such orders as may be necessary or appropriate to aid in execution of the
Plan or to maintain the integrity of the Plan following consummation, to the extent authorized by section
1142 of the Bankruptcy Code;

                 (p)      Determine such other matters and for such other purposes as may be provided in
the Confirmation Order;

               (q)      Hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

                (r)      Enter and enforce any order for the sale or transfer of property pursuant to
sections 363, 1123, or 1146(a) of the Bankruptcy Code;

                 (s)      Hear and determine all disputes involving the existence, scope, and nature of the
discharges, releases, or injunctions granted under the Plan and the Bankruptcy Code;

                 (t)    Hear and determine all disputes involving or in any manner implicating the
exculpation or indemnification provisions contained in the Plan;

               (u)     Hear and determine any matters arising under or related to sections 1141 and
1145 of the Bankruptcy Code;

                 (v)      Recover all assets of the Debtor and property of the Debtor’s Estate, wherever
located;

                 (w)      Enter an order of discharge, upon request of the Debtor or Reorganized Debtor,
as applicable;


                                                    41
Case 2:19-bk-24804-VZ            Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                         Desc
                                  Main Document    Page 52 of 60



                 (x)      Enter a final decree closing the Chapter 11 Case; and

                 (y)      Hear and determine any other matter not inconsistent with the Bankruptcy Code
and title 28 of the United States Code.

                                           ARTICLE XIII
                                    MISCELLANEOUS PROVISIONS

        13.1     Payment of Statutory Fees.

                 On the Effective Date, all fees due and payable pursuant to section 1930 of title 28 of the
U.S. Code shall be paid by the Debtor. Following the Effective Date, the Reorganized Debtor shall pay
any and all such fees when due and payable, and shall file with the Bankruptcy Court quarterly reports in
a form reasonably acceptable to the U.S. Trustee. The Debtor and Reorganized Debtor shall remain
obligated to pay quarterly fees to the Office of the U.S. Trustee until the earliest of the Debtor’s case
being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy Code.

        13.2     Exemption from Securities Laws.

                 To the maximum extent provided by section 1145(a) of the Bankruptcy Code and
applicable non-bankruptcy law, the offering, issuance, or distribution of the Trust Interests, shall be
exempt from, among other things, section 5 of the Securities Act, if applicable, and from any state or
federal securities laws requiring registration for offer or sale of a security or registration or licensing of an
issuer of, underwriter of, or broker or dealer in, a security, and otherwise enjoy all exemptions available
for distributions of securities under a plan of reorganization in accordance with all applicable law,
including without limitation section 1145 of the Bankruptcy Code.

        13.3     Exemption from Certain Transfer Taxes.

                 Pursuant to section 1146(a) of the Bankruptcy Code, the transfer of title to or ownership
of any of the Debtor’s interests in any property; or the making or delivery of any instrument of transfer in
connection with the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee,
intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, or other similar tax or governmental assessment, and the
Confirmation Order shall direct the appropriate state or local governmental officials or agents to forgo the
collection of any such tax or governmental assessment and to accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax or governmental
assessment and to accept for filing and recordation any of the foregoing instruments or other documents
without the payment of any such tax or governmental assessment. Without limiting the foregoing, any
issuance, transfer, or exchange of a security or any making or delivery of an instrument of transfer
pursuant to the Plan shall be exempt from the imposition and payment of any and all transfer taxes
(including, without limitation, any and all stamp taxes or similar taxes and any interest, penalties, and
addition to the tax that may be required to be paid in connection with the consummation of the Plan)
pursuant to sections 106, 505(a), 1141, and 1146(a) of the Bankruptcy Code. Unless the Bankruptcy
Court orders otherwise, all sales, transfers, and assignments of owned and leased property approved by
the Bankruptcy Court on or before the Effective Date shall be deemed to have been in furtherance of, or
in connection with, the Plan.

        13.4     Dissolution of Statutory Committees and Cessation of Fee and Expense Payment.

               On the Effective Date, any statutory committee(s) appointed in the Chapter 11 Case,
including the Committee, shall dissolve, and the members thereof shall be released and discharged from


                                                       42
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                 Main Document    Page 53 of 60


all rights and duties arising from, or related to, the Chapter 11 Case. The Reorganized Debtor shall not be
responsible for paying any fees and expenses incurred after the Effective Date, if any, by the professionals
retained by any such committee, other than for the reasonable fees and expenses for the services
authorized to be provided pursuant to this Article 13.4.

        13.5    Substantial Consummation.

                On the Discharge Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

        13.6    Expedited Determination of Postpetition Taxes.

                 The Reorganized Debtor shall be authorized to request an expedited determination under
section 505(b) of the Bankruptcy Code for all tax returns filed for, or on behalf of, the Debtor for any and
all taxable periods ending after the Petition Date through, and including, the Effective Date.

        13.7    Modification and Amendments.

                Subject to the requirements of section 1127 of the Bankruptcy Code, Rule 3019 of the
Federal Rules of Bankruptcy Procedure, and, to the extent applicable, sections 1122, 1123, and 1125 of
the Bankruptcy Code, the Debtor may alter, amend, or modify the Plan at any time prior to the Effective
Date. Holders of Claims that have accepted the Plan shall be deemed to have accepted the Plan, as altered,
amended, or modified, if the proposed alteration, amendment, or modification complies with the
requirements of this Article 13.7 and does not materially and adversely change the treatment of the Claim
of such holder; provided, however, that any holders of that were deemed to accept the Plan because such
Claims were Unimpaired shall continue to be deemed to accept the Plan only if, after giving effect to such
amendment or modification, such Claims continue to be Unimpaired.

                Entry of a Confirmation Order shall mean that all modifications or amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and
do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

        13.8    Additional Documents.

                On or before the Effective Date, the Debtor may enter into any agreements and other
documents as may be necessary or appropriate to effectuate and further evidence the terms and conditions
of the Plan. The Debtor or Reorganized Debtor, as applicable, and all holders of Claims receiving Plan
Distributions and all other parties in interest may, from time to time, prepare, execute, and deliver any
agreements or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of the Plan.

        13.9    Effectuating Documents and Further Transactions.

                 On and after the Effective Date, the Reorganized Debtor is authorized to execute, deliver,
file, or record such contracts, instruments, releases, indentures, and other agreements or documents and
take such actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan, without the need for any approvals, authorizations, or consents, except for those
expressly required pursuant to the Plan.




                                                    43
Case 2:19-bk-24804-VZ           Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                       Desc
                                 Main Document    Page 54 of 60


        13.10   Plan Supplement.

                  All exhibits and documents included in the Plan Supplement are incorporated into, and
are a part of, the Plan as if set forth in full in the Plan, and any reference to the Plan shall mean the Plan
and the Plan Supplement. Upon its filing, the Plan Supplement may be inspected in the office of the clerk
of the Bankruptcy Court or its designee during normal business hours, at the Bankruptcy Court’s website
at www.deb.uscourts.gov, and at the website of the Voting Agent at https://dm.epiq11.com/YT1. The
documents contained in the Plan Supplement are an integral part of the Plan and shall be deemed
approved by the Bankruptcy Court pursuant to the Confirmation Order.

        13.11   Entire Agreement.

                Except as otherwise indicated, the Plan and the Plan Supplement supersede all previous
and contemporaneous negotiations, promises, covenants, agreements, understandings, and representations
on such subjects, all of which have become merged and integrated into the Plan.

        13.12   Revocation or Withdrawal of the Plan.

                 The Debtor reserves the right to revoke or withdraw the Plan at any time prior to the
Effective Date. If the Debtor takes such action, the Plan shall be deemed null and void in its entirety and
of no force or effect, and any settlement or compromise embodied in the Plan (including the fixing or
limiting to an amount certain of any Claim or Class of Claims), assumption of executory contracts or
unexpired leases effected under the Plan, and any document or agreement executed pursuant to the Plan,
shall be deemed null and void. In such event, nothing contained in the Plan shall (a) constitute or be
deemed to be a waiver or release of any Claim against the Debtor or any other Entity; (b) prejudice in any
manner the rights of the Debtor or any Entity in further proceedings involving the Debtor; or
(c) constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtor or any
other Entity.

        13.13   Severability.

                  If, prior to the entry of the Confirmation Order, any term or provision of the Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, at the request of the Debtor, the
Bankruptcy Court shall have the power to alter and interpret such term or provision to make it valid or
enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as
altered or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the
terms and provisions of the Plan shall remain in full force and effect and shall in no way be affected,
impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as it may
have been altered or interpreted in accordance with the foregoing, is (a) valid and enforceable pursuant to
its terms; (b) integral to the Plan; and (c) non-severable and mutually dependent.

        13.14   Solicitation.

                 Upon entry of the Confirmation Order, the Debtor shall be deemed to have solicited
acceptances of the Plan in good faith and in compliance with the applicable provisions of the Bankruptcy
Code, including, without limitation, sections 1125(e) and (g) of the Bankruptcy Code, and any applicable
non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in connection with such
solicitation. The Debtor, the Reorganized Debtor, and each of their respective employees, agents,
representatives, advisors, attorneys, accountants, and professionals shall be deemed to have participated in
good faith and in compliance with the applicable provisions of the Bankruptcy Code in the offer,


                                                     44
Case 2:19-bk-24804-VZ            Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                        Desc
                                  Main Document    Page 55 of 60


issuance, sale, and purchase of any securities offered or sold under the Plan, and therefore, are not, and on
account of such offer, issuance, sale, solicitation, or purchase shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections
of the Plan or the offer, issuance, sale, or purchase of any securities offered or sold under the Plan.

        13.15    Governing Law.

                Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the Statestate of New
YorkCalifornia, without giving effect to the principles of conflict of laws (other than section 5-1401 and
section 5-1402 of the New York General Obligations Law), shall govern the rights, obligations,
construction, and implementation of the Plan, and any agreements, documents, instruments, or contracts
executed or entered into in connection with the Plan (except as otherwise set forth in those agreements, in
which case the governing law of such agreement shall control).

        13.16    Compliance with Tax Requirements.

                  In connection with the Plan and all instruments issued in connection herewith and
distributed hereunder, any Entity issuing any instruments or making any distribution under the Plan shall
comply with all applicable withholding and reporting requirements imposed by any federal, state, local, or
foreign taxing authority, and all distributions under the Plan shall be subject to any such withholding or
reporting requirements. Any Entity issuing any instruments or making any distribution under the Plan to
a holder of an Allowed Claim has the right, but not the obligation, not to make a distribution until such
holder has provided to such Entity the information necessary to comply with any withholding
requirements of any such taxing authority, and any required withholdings (determined after taking into
account all information provided by such holder pursuant to this Article 13.16) shall reduce the
distribution to such holder.

        13.17    Successors and Assigns.

                   The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign,
affiliate, officer, director, agent, representative, attorney, beneficiary, or guardian, if any, of each Entity.

        13.18    Closing of Chapter 11 Case.

                The Reorganized Debtor shall, as promptly as practicable after the full administration of
the Chapter 11 Case, file with the Bankruptcy Court all documents required by Bankruptcy Rule 3022,
Del. Bankr. L.R.Local Bankruptcy Rule 3022-1, and any applicable order of the Bankruptcy Court to
close the Chapter 11 Case.

        13.19    Document Retention.

              On and after the Effective Date, the Reorganized Debtor may maintain documents in
accordance with his current document retention policy, as may be altered, amended, modified, or
supplemented by the Reorganized Debtor without order of the Bankruptcy Court.

        13.20    Conflicts.

                In the event of any conflict between the terms and provisions in the Plan (without
reference to the Plan Supplement) and the terms and provisions in the Disclosure Statement, the Plan
Supplement, any other instrument or document created or executed pursuant to the Plan, or any order



                                                      45
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                     Desc
                                Main Document    Page 56 of 60


(other than the Confirmation Order) referenced in the Plan (or any exhibits, schedules, appendices,
supplements, or amendments to any of the foregoing), the Plan (without reference to the Plan
Supplement) shall govern and control; provided, however, that in the event of a conflict between the
Confirmation Order, on the one hand, and the Plan or the Plan Supplement, on the other hand, the
Confirmation Order shall govern and control in all respects.

        13.21   Service of Documents.

                After the Effective Date, any pleading, notice, or other document required by the Plan to
be served on or delivered to:

                the Debtor or the Reorganized Debtor, shall be served on:

                          PACHULSKI STANG ZIEHL & JONES LLP
                          919 North Market Street
                          17th Floor
                          Wilmington, Delaware 19801
                          Attn: James E. O’Neill
                          Email: joneill@pszjlaw.com
                          - and -
                          PACHULSKI STANG ZIEHL & JONES LLP
                          10100 Santa Monica Blvd., 13th Floor
                          Los Angeles, California 90067
                          Attn: Richard M. Pachulski; Jeffrey W. Dulberg; Malhar S. Pagay
                          Email: rpachulski@pszjlaw.com; jdulberg@pszjlaw.com;
                          mpagay@pszjlaw.com

                          - and -

                          O’Melveny & Myers LLP
                          Times Square Tower
                          Seven Times Square
                          New York, New York 10036
                          Attn: Suzzanne Uhland; Diana Perez
                          Email: suhland@omm.com; dperez@omm.com

                 After the Effective Date, the Reorganized Debtor shall be authorized to limit the list of
Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed a
renewed request to receive documents pursuant to Bankruptcy Rule 2002.

        13.22   Deemed Acts.

                 Whenever an act or event is expressed under the Plan to have been deemed done or to
have occurred, it shall be deemed to have been done or to have occurred without any further act by any
party, by virtue of the Plan and the Confirmation Order.

        13.23   Waiver or Estoppel.

                 Each holder of a Claim shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim should be Allowed in a certain amount, in a certain priority,
secured, or not subordinated by virtue of an agreement made with the Debtor or its counsel or any other



                                                   46
Case 2:19-bk-24804-VZ          Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                      Desc
                                Main Document    Page 57 of 60


Entity, if such agreement was not disclosed in the Plan, the Disclosure Statement, or papers filed with the
Bankruptcy Court prior to the Confirmation Date.




                                                    47
Case 2:19-bk-24804-VZ   Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44    Desc
                         Main Document    Page 58 of 60




                                  Summary report:
        Litera® Change-Pro for Word 10.8.0.80 Document comparison done on
                               1/27/2020 11:39:11 PM
     Style name: OMM Standard
     Intelligent Table Comparison: Active
     Original DMS: dm://OMM_US/77229461/6
     Modified DMS: dm://OMM_US/77298169/6
     Changes:
     Add                                                    569
     Delete                                                 481
     Move From                                              39
     Move To                                                39
     Table Insert                                           3
     Table Delete                                           1
     Table moves to                                         0
     Table moves from                                       0
     Embedded Graphics (Visio, ChemDraw, Images etc.)       0
     Embedded Excel                                         0
     Format changes                                         0
     Total Changes:                                         1132
        Case 2:19-bk-24804-VZ                     Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                                      Desc
                                                   Main Document    Page 59 of 60
                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                    10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): NOTICE OF FILING OF BLACKLINE
 VERSION OF DEBTOR’S FIRST AMENDED PLAN OF REORGANIZATION
 UNDER CHAPTER 11 OF THE BANKRUPTCY CODE will be served or was served (a) on the judge in
 chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 27, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ____________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 27, 2020, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 VIA HAND DELIVERY
 The Honorable Vincent P. Zurzolo
 United States Bankruptcy Court
 Central District of California
 255 East Temple Street, Suite 1360 / Courtroom 1368
 Los Angeles, CA 90012

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  January 27, 2020               Mary de Leon                                                    /s/ Mary de Leon
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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        Case 2:19-bk-24804-VZ
                       Doc 261 Filed 01/27/20 Entered 01/27/20 23:57:44                                                             Desc
                        Main Document    Page 60 of 60
SERVICE INFORMATION FOR CASE NO. 19-bk-24804-VZ

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
        David W. Meadows david@davidwmeadowslaw.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Christopher E Prince cprince@lesnickprince.com,
         jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Emily Young pacerteam@gardencitygroup.com,
         rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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